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general administration, contract negotiation. personnel controi, field coordination, inspection and
safety evaluations

11!82 - 3l84 - Da|N|ac Deveiopment Company. Da|ias, Texas; Vlce President end CEO of
Daiiv'lac Residentiai Deveiopment Corporation in charge of acquiring developabie land for
apartment and condominium projects in the Da|ias area. Responsibiiitles included general
administration contract negotiation, civil engineering analysis of proposed land acquisitions, and
structural engineering evaluation of existing apartments and condominiums proposed for
acquisition

9/75 - 9/84 - President; T. J. ivielton, ||i & Associates, inc., MldlandI Texas, a civil/structural
build/design f|rm. Structurai engineering projects included Westgate Business Park (offices and
warehouses), medical facilities, oilfield structures, insurance officas. retail centers. hotels.
schoois, churches and large residences Civii engineering projects included Westgate Acres
roads, utilities and drainage, and a large water~recreation park. Company closed in 1984 due to
overall decline in oil- related Texas economy. Worl<ed full time from 9!?5 to 11182; part- time from
11/82 to 3/84. and full time from 3/84 to 9/84. `

9/73 - 9/75 - Project engineer; Bryant-Curington. Consuiting Engineers; Austin, TX'. Project
design engineer for expansion to Davis Waiier Treatment Piant; preliminary studies of Onion
Creeit Sewage Treatment Piant; and various subdivision road, bridge end drainage projects
Responslbiilties included structural design of ciarlfiers, filtration, chemical buildings and
laboratories and associated civil design of road accessl parking and drainage feciiitiee.

- 5/70 - 9/73 - Greeven & Stoeitje. Consu|ting Engineers; Austin. TX'. Project structural
design engineer for various projects including elementary schools at Braiter Lenel Rundburg Lane
and Austin High School; Weter Resources State Oflice Buiiding, Tr‘avis County Courthouse Annex
and Parltlng Garage, Unlversity of Tsxas Regents Eiui|dlng. various University of Texas buildings.
smaller office and retail bulldlngs, and University of Texas of the Permisn Basin. Responsibililies
included full charge design, coordination of drafting and some project inspection Deveioped
computer software for building analysis Buiidlngs varied in size from single story to twelve-story
structures

9/68 - 5/70 - Structurai Eng|neer; Eugene Wukasch & Associates; Austin, TX; Design
engineer in charge of working drawing ;:¢rer.raratlonl coordination between various design
professionalsl field inspection and client negotiation for various buildingsl including retail facilities,
apartmentsl churchesl mobile homes, mobile schools and various projects for the Ccrps of
Englneers. lvii_iitary projects included aircraft hangers and officesl commissary expansion and
WAC barracks at Ft. Sam Houston and Brooi<s AFB.

l 10l6? ~ 9!88 - Associate Engineer; Fiuor Corporation, Houstonl T)(; Project engineer in
charge of structural design of petrochemical facilities including buildings pipe support structures
and foundations and civil design of drainage, pavement and wastewater collection and disposal
Responsibiiities included directing a team of engineers involved in specialized design of steel end
concrete tower structures for wind and earthquake loadings. Ciients included Texaco and
Petrotex Petroleum Company. iV|ost projects exceeded $5 million in construction value.

_ 8!66 - 10!6? ~ Structurai Deslgnsr; Brovvn & Root, inc`, Houstonl TX. Design engineer of
domestic. foreign and offshore facilities including docks1 warehouses petroleum facilities1 drilling
piattor`ms, and government buildings. Niuch of the design work performed during this period
encompassed numerous smaller components of larger structuresl such as specialized design of
concrete retaining wa||s, column and composite beam design, buckiing and fatigue analysis of
structures subjected to impact from lioating vessels and ice tiows, and specialized steel
connection design. Mcst projects were undertaken in a team-effort atmosphere Ciients included
Gelgy Chemicsi Company and Nakoosa Edwards Company.

 

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1/65 - 8/66 - Student; Universlty of Texas; Austln, TX; Work|ng toward i\/laster of Science

degree in Archltectural Engineering. Worked as a teaching assistant in the Department of
Drafting.

6)'63 - 9163 - Structurai Draftsmen; Preeton M. Geren, Architect-Engineer; Ft. Worth, TX;
Dutiee included structural drafting and minor engineering caicuieiions. Projecte included various
office buildings and high schools. Structurai experience included elementary steel connection end
base plate design, concrete footinge; concrete slab on grade; suspended concrete channel floor
systeme; end masonry load bearing wall analysis. Other duties included coordination between
structural end architectural departments and checking of sh`op drawings for various projects.

6)'61 - 8161 - Rodman; Texes Highway Departrnent; i\/ildlandl TX; Surveyor duties, including
quantity takeofte end meesuremente; eoii teeia; eurveyor calculations and dulles.

9/60 - 1/65 - Student; Universlty of Texaa', Austin, TX; Working toward`Bacheior of Sclence
degree in Archltectural Englneer|ng.

PROFESS|ONAL ME|V|BERSH|PS:

Amerlcan institute of Steel Construction
American Concrete institute - Previous
Natlonai Counci| of Engineering Examlnere
Texae Society cl Profeeslcnal Englneers
Nationa| Society of Profeeelonal Engineers
American Society of Civil Engineera

Past Niemberehlpe:
Chairrnan - Buildlng Code Review Commlttae - lVlidland
Chairman - Planning &' Zonlng Cornrnlttee - Mldland
Planning & Zoning Commieeion - lVlidland
Utility Wlndowperie Aduieory Commitiee - lVlidland

PUBLiCATlONS'.
lVlelton - "Structures Video Semlnar" 1988 thru 1997.
lVielton - "Wh¢n the Bough Breaks: Bulldlng Faiiures and the Structurai
Engineering Experl."-1989; wori<book revised 1998. `
. Meiton - "Faiiuree of ln-Service MPC Parailel Chord Wood Fioor Truss Compcnents
1 Reveal Deficienoles ln ANSl/TP| Standards - 2000
Melton - "ADA-A/E Tltle l|l Deslgn Video Seminar", 1994.

 

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THOMAS JUNE lViELTON, ill PART|AL PROJEC'i_' L|STiNG
lNCLUDlNG AMSTAR ENGlNEERlNG PROJECTS
(Slgnlflcant projects listed oniy)

'The following partial listing reflects the types of projects
for which Thomas June Nielton, ill has provided engineering
services:

FOR AN|STAR ENG|NEER|NG:

A-1 Fire & Security Foundation / Drainage Evaluatlon - Waco

A-1 Rental Store -Austin

Academy Surpius FoundationiTiitweliiFraming - Austin

6903 Agave Cv. P|umblng!Structural ~ Austin

Aircraft Scaf'ioiding - San Antonlo

Airport i'viarriott lv‘lezzenine - Austin

A|amo Businees CenlseriCity Parl< Buried Utilitles investigations - San Antonio
Americen Freight Drainege Aneiveis ! Drainage Utilities - Scheriz. TX

824 Angel Light - Lake Trevls

Apptehead Cove Repalrs - Horseshoe Bay, TX

Appiied Materleis - Austin

Arc'nitecturei ivieteis (Thresholds) Copyright Dispute - Houston

14731 Arrowhead - Lake Travie, TX

Austin/Bergstrom Alrport Pedestrian Brldges - Austin

32 Autumn Oaks Dr. Roof FramingiWaier DarnageiRep`alr - Hiiis of Lakeway
AVA| Boat Dock - Austin

Ba`by Acepulco Restaurent Addn. - Austin

Baicones Club Apertmenie investigation - Austin

Bank Unlted - Austin

Beaumont Federai Correctlonal Compiex - Beaumont, Tx

#11 Beecher St. Structurai Repairs - Austin

Be|i Towers DrainagerParlcing - Austin

2315 W. Ben White iv‘ieciicei Faciiitv Evaiuetion - Austin

4311 Bennedlct Flood Demagei[)rainage investigation - Austin

Best Western Hote| Stucco / Water intrusion - Austin

12432 Beveriy Vlltage Ct. #6 Wind Braclng l Fremlng Repaire - Austin
Eiingle Road Shopplng Center investigation - Houston

5325 Texas Bluebell Window Leakegef$lte Dreinage - Spicewood, TX
Boeing Buiiding 3238L - Austin

Bols-Du-Lec Condominiums - Dal|as

505 Bo|lvar Framing f Connectors r‘ Fiood Plane - Bella|re, TX

7804 Brightman Lane Structure|fTrussteter Penetratlon - Austin
4805 Brooi< Creel< Cove Foundation investigation - Austin
Brcokstone Apertments Thlrd Floor Weikvrev Removel - Austin
Bridge Partiai Collepse inv. - vay 618, Shreveport, LA

603 Buii Creek Stebilization - Austin

1441 Bu|i Horn Loop Foundatlon)'Drainage - Round Rock

Buli'ock, Sendral 2801 River Hiile Roed lViuiti»Damage investigation - Austin
4600 Bunny Run Structure - Austin

7304 Burnet Rd Fire Damege investigation - Austin

Butteriieid l & ii investigation - San Angelo

1109 C&D 15 1/2 St. Structurai l Foundation /Drainege - Houston

Camino Reai Apartments Cenopy/Structureli'lazards - Austin

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4300 Canoas Roof Framlng - Austin

2400 Canoas Drlve Structure - Austin

240 Canterburv Truse!Beam Deficiencles - Dripping Springs, TX

221 Canyon Trail Swimming Pool Analysis - Austin

CAP Water Treatment Piant - Tucson` AZ

Capital ivietro Bus Pari<lngiRetaining WallsiFiood Studv - Au stin

Capiiai ivietro Maintenance Bui|ding Drainegeistructural Addition - Austin
Cardinel Hiiis Unit 7 Wastewater Studv - Travis County

Casa Grende va. Flood Reiief & Bridge Raii - Pt\oeni)<l AZ

3408 Cascadara Drainage!Structural - Austin

Catheiena‘s Restaurant Structurai/Septic - Cedar Park

220 Cedar_ Hurst Lane Cha|r Lift Analysis - Lake Travis

11094 Cedar Park DreinagelStructurai - San Antonio

Cedar Park Communitleecreationa| Center Stairs and Reiis - Cedar Park
2725 Cedar Springs FramingiFoundationiDrainageiMoisture investigation - Round Rock
2714 Cedar Sprlngs FrarningiFoundatlonl'Drainege,-‘iv‘ioistu re investigation - Rou nd Roci<
Centercourt Drainage - Austin

Centex Retaining Wall Coiiapse inv. Rivermist/Waiier Ranch - San Antonio
Chainsaw Massacre iViovie Set Structurai Analysis - Austin

8400 Chaik Knoil Foundatlon/Pooi investigation - Austin

8904 Chaii< Knoil Drive FlreplaceiChlmneyNVater intrusion inspection - Austin
25938 Chapman Fails Fourrdetion i Drainage inv. - Richmond, TX `
Chase Apartmenis Roof t Structurai l ivioleture Assessment - Austin
Cltv-Countv Jai| - Ol<iahoma Citv, OK

Clty Nationel Beni< - Austin

Ciiy Park Recreatlon Bulldlng - San Marcos

9403 Cleerroci< Additlone - Austin

Coie Baptist Church Roof Truss Failure)‘injury - Duncanviile _

Coilege l-iouse CoOp Rehab - Austin

Coiiege Pari< Snopplng Center - i<ilieen

Coioredo Bullding improvements - Austin

Comrnadore Riverboat Hui| Repeirs - Austin

111 Congress Sign - Austin

Congress Ave. iviini Storege Fire Demege investigation - Austin
Ccntinentai Construciion Caslno Delev Dameges Evaiuation - Alabama
Convenience Store Canopy - Fredrici<sburg

2208 Conwev Cove Freming Asseesment - Ptiugerviiie

Copperas Cove Jr. i-t|gh Connections - Copperas Cove

225 Corinthlen vaimming PooiiSeptic Svstem investigation - Lakeway
Cornett Roof Trues Failure/in]ury - Austin

Corridor Park 5 - Cort Furniture - Austin

2150 Cottonwood Creek Foundation/Pooi Assessment - Austin

Coulver Rd. Septlc Systems - Austin

617 Coventry Resldential Deslgn - Austin

Crane i\/ianbesket - Austin

2905 Creeks Edge Parkway Masonry Repairs - Austin

911 Cross Wind investigation - Austin

Crossiand Econorny Studlo - Austin

Cvpress Ssmiconductor improvements - Austin

DART City Piace - Daiias

DART improvements - Da|las

Davs inn - Dlamond Bar. CA

Dean Witter Sign - Austin

9212 Decker Lane Site Damage Assessment- Austin

Deeb Wood Truss Defect investigation - WV

Deiatte illioblie Home Moisture intrusion/StructuraiNentliation/Piumbing - Louisiana

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Denver Paviiions Shopping Center ~ Denver, CO
Department of Econornic Security West - Phoeni><, AZ
Dittmar Lu mber Werehouse - San Antonio
Doss Road Wastewater System - Travis Cou'nty
12506 Dover Drive, Montgomery, TX (Chapman)
Downtown_ Trlparty Brldge - San Antonio
Duska Swimming Pool - Austin
, Dutchman's iVlarket Freezer Bulldlng investigation ~ Fredericksburg
Duvai Countv Ceurthouse Water intrusionlSuperstructureiCivii - San Dlego. TX
421 EastB"1 ADA issue - Austin
805 East 32“" St. ii/iedica| Ofiices Foundation/Piumbing - Austin
#13 Ehriich PooilRetaining Waii Repairs - Austin
Educare Housing .~ Austin
Eisiey lerary DoorAccident - Llncoinl NE
El ii.iionterreiir Apertment Fcundetion investigation - Austin ,
Englneering_ ethics opinion letter (confidential)
Encycie Texas Piani Dlsmantie investigation - Corpus Christi
2408 Enfleid Waterprootlng end Drainege investigation -'Austin
Enterteinment & Sports Arens - Raielghl N.C.
Escala Apartments - Retaining Waii Fai|ure / Drainage - Austin
Esther's Foiiies Expenslon ~ Austin
12210 Fa|rheven Foundation t Dralnage lnv. - Montgomery, TX
Far West Skyiine Condomium Reheb - Austin
101 Fewn iv‘ieadow Repa|rs -- Austin
101 Fawn Ho|iow Bracing, Windows, Foundation issues - Drlpping Springs, TX
FDNS Medicai Bulldlng Thermal Barrier / Vinyi Materiais investigation - New Braunfeis
FDNS i\/iedica| Bulldlng Thermai Barrier / Vlnyl Materla|s investigation - Seguin
101 Firebird PoolNVali - Austin
121 Firebird St. - Roof repairs - Lai<eway, TX
Fiemingo Cantlna Canopy & ivlezzanlrie - Austin
F|eetvvood Subdlvision - Memorlai Dr.Flood t Water Barrier Dreinage investigation - Houston
F|ower Mound High Schooi Lewisvilie iSD Water Discherge - Fiovver iiiiound, TX
Forest Creek Aerlal Crossing - Pfiugerviiis
Forest Creek Retaining WaiiiCuiverts ~ Ptiugervilie
Forest Oeks Waeteweter Wetweil - Cedar Peri<
Ft. Biiss Hangar Door investigation - El Paso
304 W. 4th St - Austin
807 E. 14th St. Condo Bulldlng Water Penetration/ Structurai - Austin
Foundationisuperstructure Analysis - Primarv School - Eagle Lake
Foundetion Analysis 11820 Lowesweter ~ Austin
509-521 Frankiin investigation - Waco
2800 Frenci'i Piace DrainageiStruciura| investigation - Austin '
Fresno Federal Courthouse Structurai Assessment - Fresno, CA
Fruit-O-i_oom SiipIFali investigation - i'iariingen, TX
Fui|~:es Middle School Beem Connections - Round Rock
Gables at Barton Creek Column Repair - Austin
Gaiieria Oaks Shopping Center investigation - San Antonlo
4205 Gattis Sehoo| Road Pavement Assessment - Round Rocl<l TX
11901 Gateway Swlmm|ng Poo|/Fioodlng/Drainage - Austin
Generai Mali Facliity - Bryan
Generai Teieptione 8 Eiectric - irving
Georgetovvn Jet Addition - Georgetown. TX
42 Governore Court Structuraiii=ire inspection - Austin
Grace Lutheran Church - Wlmberly
. Grand Casino - Tunica, MS.
Grand Casino Hotei Structures - Biioxi, MS

 

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9714 Grand Oai<s Low Speed Car Crash - Structurai Damage - Austin
Granite Quarry Piant Warehouse - Austin
Grapevine Market - Austin
Greathouse Eiementary Piatforms - Niidiand
Greatiand Office Park improvements - San Antonlo
Haci<berry Convenience Store Canopy - San Antonlo
Habltat Viiiage investigation - Austin
Harbor Circie Swimming Pooi investigation - Georgetown
Harthan House Apartments (Historic) - Stabiiization and Restructure - Austin
Hartman Post House - Lake Travis
Hatctharr/Ashcreek Structurai investigation - Austin
Headquarters Bidg - Kirtiend AFB ~
20707 Henrv FiooriRoot Deci<ing investigation - Lago Vista, TX
H|gh Drive Foundation Dispute Re_so|ution ~ Lago Vista
Highcreet Apertments Drainage l Tmssee ~ San Marcos, TX
Highwav 290 W 331t Biiiboerd - Austin
Hiii Country Apartment FireiFirepiace Demage investigation - San iViarcos, TX
Hii| Countrv Apartment Foundation investigation ~ San iiilercos, TX
Hliton Hetei Wcod Truss Defect Assessment - Oi<iahoma City` OK
Hoffbrau Restaurant Addition - Austin `

. Hoiiday inn Seiect Loop 410 Retaining WaiisiPorte-Cochere - San Antonio
Heiiday inn Select Canopy Waii - San Antonio, TX -
Ho|ioman AFB F117A iv‘ialntenance Doci<sii~iangars - Aiamogorda. Nii/i
6212 Hciloway Residentiai FoundationiSuperstructure Darnage Repair - Austin
Ho|iywood Video lnepection. 1050 |35 - Georgetown
HorizoniWerner Bros. Sound Stege 3 8. 5 Structurai - Austin, TX
Horseshoe Casino Parking Gerage Stairs - Bosier City, LA
Horseshoe Casino Stalr Tower - Bosier Cityl LA
Hunter Constructlon Co. Steei Bulldlng Fire investigation - New Braunsfe|s
Hurricane Katrina/Rita Damage Evaiuations - iViS, LAl TX
12343 Hymeadow investigation - Austin
5508 i-Ivvy 290 Selsmic Eveiuation - Austin
lngleside Fieet iiiiine Center - ingleside
ingleside Viliage Apertments - ingles|de
international Center for Trade Trues Connections - Eagie Pass. TX
J.C. Penny Waii Coiiapse - Daliae
Jester Eetetes Oceanquest Fool investigation ~ Austin
Joe's Crab Shack Restaurant Code Violations l Hazard Analysis - Houston
Jonestovvn Lighthouse - Leke Travis
126 Kittie Lane Foundation l Drainage - Three Rivers, TX
19 Knob Hii| Circie interim Deck Repair - Austin
Knox OSSF Feaaibiiity Study - Austin
Knuckieheads ~ Austin
Leke Creek Viiiage Shopping Center - Austin

' 5475 Lai<eshore Drive Roof Assessment - Lago Visia
24714 Lai<eside Cove Structurai inspection - Austin
Lai<eway Church Feiiowship Hali - Lakeway
6609 N. Lamar Fire investigation - Austin
10817 N. Lamar - Roof Structure Repair -Austin
1607 S. Lamar - Austin
Lamar Craton Truss Coiiapsel injury - Aiabama
Lanshire Duplex Stair Coilepee investigation - Austin
Leke Austin Riverboat Docking Facliity - Austin
Lake Travis Lighthouse - Jonestown, TX
Leke Travis Post Office - Lai<eway
4807 Leke Wichita Foundation i Dralnage inv. - Richmond, TX

 

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1010 N. Lamar RoofNVaii Restructure - Austin
1420 N. LBJ Dr. Vibratlon/Energy investigation - San Niarcos
10807 Legends Lane Piumbing Leek Darnege - Austin
Lewlsviiie lSD Schooi Constructlon Deticiency Evaiuation - Lewisvii|e
Light BarAddition - Austin
1487 Little Bear Foundation Evlluation - Hays County, TX
LoLa Convalescent Ctr. Roof Coliapse investigation - Austin
i.ockheed Malntenance Facliity - Austin
Lockheed iVllssiie Niezzanlne - Austin
Log Cabin Structurei/Foundation - New Nlexico
13915 Lone Rider Tra|l Trusses - Austin
2401 Longview Phi Kappa Psi Temporary Structure - Austin
Louisiana State nghway Timber Bridge Coiiapee - LA
11620 Loweswater Drainage/Structurai - Austin
Luis Faii / injury / Roof Framing l Fasteners issue - Houston
606 W. Lynn Condos investigation - Austin
McCracken Pool Trusses - Austin`
McCrearv County USF' - Keniuci<y
202 E. iviain Restaurant Fire Damage Repair - Round Rock
Nialmin Structurai Damage Assessment Fiooding/Drainage/Utiiitles - Austin
Mandalay/Circus Circus ADA Shower Seat/lnjury investigation - MS
Marbie Faiis Quarry Ofiice Buiiding - iv‘ierbie Faiisl TX
711 iViarshai| St. Foundaiion l Frame investigation - Houston
819 Mariner Structurai/Foundatlon investigation - Round Rock
703 iViame Ln. L|ghining Damage Assessment - Houston
Masonry Column Coiiapse investigation ~ Houston
2518 Mathevvs Eiaiconies / Boat Dock i i-ieiicopter Pad inv. - Austin
Maxweii Car Wash - Tayior '
Maxweii Wastewater - Austin
ii/ieadowbrook Gardens Apartments Deslgns/|nspections - Cedar Park
Meadowiakee Shopping Center - Marbie Faiis
Medical Center Automatic Door Cioser Accident - Bentonvliie, AR
Mernoriai Baptist Church Trueses - Kiiieen
_ iiv‘ienard BiFoid Door Accident investigation - Janesvliie, Wi
Mezzaiuna North - Austin
Micron Devices Selsmic - Utah
310 Mitcheil Foundation / Piumbing - Weatherford, TX
iviississippi interstate Bridge Co||epse - N|S
2004 Niistywocd Residentiai Repeirs - Austin
Morrow Roof Meml:)er CoiiepseiFai! »~ Eiirrningham, Ai_
205 W. Morse Moistureitvioldi$torm Windows - Frt~)dericksbergl TX
352 Niostyn Ln. Foundatlon / Framing Evaiuation - San Nlarcos
Motel 6 Beioonvf$tairs Restructu re - Amarillo
Motel 6 BaiconyiStairs Reetructure - 8010 N. l35 - Austin
Motel 6 Hurricane lite Demage Eveiuetion t Reconetruction - Jersey Viiiagel TX
Motel 6 Hurricane Katrlna Darnage Assessment - Biioxi, iiiiS
Motel 6 N.iH35 Additions - Austin
Motei 6 WeikwajrsiStairs - “i'opekel KS
Motel 6 StructuraiiCivii Evaiuation - Camp Springsl NiD
Motel 6 Structurai/Civii Evaiuatlon - Cranberry. PA
Motel 6 Structurai/Civii Evaiuation - Moline, iL
NiSi Shop Expension ~ Kyle
Mt. O|ive Lutheran Church Addn. - Austin
Motoroia Bulldlng "W“ - Austin
Moss C.J.C. - Okiahome Cityl OK ` ~
Niuseum of the Soutnwest Accident / ADA evaluation - Corpus Chr|sti, TX

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' N.A.S. Commissary - Kingsviiie
Ne'|iis AFB Composite Facliity - Las Vegas, NV
New Eiitch Gardens Theme Park - Denverl Co.
413 New Ledo Swimming Pooi investigation - Austin
New Lexington Fayette County Detention Center - Lexingtonl KY
New Territories Shopping Center investigation - San Antonlo
1211 Newton IAustin Niotei Retaining Waii Coiiapse Repair Analysis - Austin
19 Nob Hiii Clrcie Structurai Expansion Study - Austin
North High Schooi - Carroiton
North Hi||s Townhouse Foundation investigation - Austin
North Lamar/Kramer Lane Warehouees ~ Austin
North Park Hote| Fire/Firepisce/Truss Repairs - Austin
1210 Nueces - Veneer l Deck/ Stalr Repeirs - Austin
250 Oak Heighiis Barrier Drain - Wimberly
Oai< Knoil Residentiai Foundations - San Marcos
Oakwood Schooi Trusses - Coiiege Statlon
10807 Oasis Foundation Faiiure lnv./Negotiation - Houston
4802 Ocean Drive_ Structurai/VentiiationAssessment - Corpus Christi, TX
Oiitleid Road Hwy. intersection Accident/ Drainage l Non-Licensed Engineer - LA
Oid Loci<hart Hwy. Niobil Home Park - Travis County
Oiivarez Subdivision/Utiiitiss/Street Coiiapse investigation - iV|cAiien
Oltorf OaKs Apartments Chimney Fire investigation - Austin
One Corporate Center investigation - Austin
. One Liberty Piace improvements - Waco
One Tech Piaza - Austin
Oyster Landing Boat Docks - Austin
Paietace Grocery - Travis County -
Palm valley Retain Stucco ! Substrete - Round Rock
Paniague Truss Co|lepseiinjury - Phoenix, AZ
12892 Park Art Studio - Austin
Park Centrai Apertments Stalr Feii inv. - Daiias
6103 Peachtree Hiii Ct Drainage i Foundation Damage - Kingwood
2212 Pearl Fire Damage inspection - Austin .
540 Pecan Grove Boat Dock improvements - Hor_seshoe Bay
Penbrook Apariments Masonry Veneer Repalrs - Austin
Penbrook C|ub Apartments Buiiding 6 Breezeway inspections - Austin
J. C. Penny Brick Veneer Waii Coiiapse - Daiias
Pete Maravioh Assembiy Center investigation - Baton Rouge, LA
Point Venture Townhouse ii/iuiti Buiiding Structurai Assessment - PointVenturel TX
Preclsion Natlonai Structurai investigation - Waco
Pubiic Housing Faii Hazard investigation - San Antlcnio '
29384 Raintree - Piumbing / Foundation l Superstructure investigation - Fair Oaks Ranch
Reyco Fire Retardant investigation a San Antonio
RCBS Hospltai HVAC / Coniract issues - Austin
1913 Reai Catorce Foundationiz"cd Fioor Framing Repalrs - Austin
Recreetion Sports BuiidingiA&iviNtiindow Waii - Co||ege Station
Red Robln Resteure\nt Air QueiiiyiMolsture.-'Rootiweii Leai<e - San Antonlo
' Regency iv‘ienor Apertrnente Structurai Walkway Replacernents - San Antonlo
Regents Schooi Water intrusionl'ir’v'ood Fioor Damsge investigation - Austin
8910 Research Perking Lot investigation - Austin
12034 Research High Speed Vehicie Coiiision VibrationiEnergy Damege Assessment - Austin
Retano Wastewater System - Austin
2816 Revere Townhouses Foundation / Superstructure lnv. - Houston
1913 Rio Catorce TJi Fioor Joist investigation - Austin
River Authority Conveyor - San Antonlo
3800 Rivercrest Boat Dock Feasibiiity Study - Austin

 

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2311 Ftcgge Ln Swimming Pooi LeaidFoundetion Assessment- Austin
Rone Ceiiphone 160 Ft. Guyed Tower - Berton Creek. Austin
Round Rock Express Besei:reii StancisiRaiis - Round Rock
Round Rock Express CabieeiStructural Designs - Round Rock
Round Rooit Express Supports - Round Roci<
10713 RR 620 Root Assessment - Austin
12301 Saber Traii Wind Load Stabi|ization - Austin
Sam Bass Roed Concrete Pavement Analysis - Round Rock, TX
Samsung U. Projecti Beam Connections - Austin
San Antonio Housing Authority v. Nlagi Reaity - Litigation, 150 + Houses - San Antonlo
2200 Scenic Boat Dock Repairs - Austin
16020 Scenic Oai<s Trali Flood Analysis - Buda, TX
Schneider Manufactured Home investigation - La Grange, TX
- Secretariat Masonry Arches/Drlinage - Hayes Co., TX
Segetieid Dralnage Study - Austin
6106 Shedow iviountain Structurai Repalrs - Austin, TX
Sharper image lviezzenine - Austin
Sheraton Hotei Perklng Garage Repairs - Austin
Siiver Pine Pooi - Austin
S|mpie)c Grinneii Structurai Evaiuation - Piiugerviiie, TX
Sir ivor Cove Swimming Pooi Evaiuation - Austin, TX ,
419 E. Sixth St. Second Fioor Rehab - Austin
421 E~. Sixth St. ADA investigation - Austin
500 E. Sixth Rehab - Austin
500 E. 6‘“ Fire Escape Restructure - Austin
505 E. 6th Structurai investigation - Austin
515 E. Sixth Root Framing - Austin
600 E. Sixth Roof & 2"d Fioor Framing Evaluation - Austin
723~725 E. Sixth Rehab - 'Austin
10211 Skyilov.rer Fioor Stabiiization -» Austin
Skyiight Acc|dentai Breakeger'Faii t injury - li.iiissic)nl TX
Skyridge Piaza Structurai inspection - Round Roci<. TX
South Grand Prairie High Schooi - Grand Prairie
329 South Guedeiup'e Water intrusion » San Niarccs
Southiei<e Shopping Center Stairs - So uihlei<el TX
Soutinlei<e Subdivislon Sanitery Sewer Coiiapse - Southiake, TX
_ 120 South Maln Roof Drainage issue - Victoria
South Texas Art il/iuseum - Structurai Barriers / ADA/ injury - Corpus Christi
Southweet iviedical Park ~ Austin
Southwest Tean State University Bridge - San Marcos
Southwestern University Fine Aris investigation - Georgetown
SpeedFabCrete TiitWali investigation - San Antonlo
702 SpringBrooi< WateriFicorTruss Darnage - i_eander
St. Paui‘s Cathoilc Church Addition - Austin
St. Pete Tirnse Forum Arene Conerete Toierances Eveluation - Tampe Bay. FL
#18 St. Stephens Pooi investigation - Austin `
Stalr and Goerdrail Deslgns - Sheppard AFB
St. Stepi'lene Schooi. Ciuinn Heii Addition - Austin
Stahi Roof Cond|tlon Assessment - Austin
Stayton Water Damage ~ Hardvvood Fiooring /Piumbing l HVAC Spec. Nlediation - Victoria
Steck Vaughn Fioor Structure investigation » Austin
119 Stephens Lane Windovv i.eakage investigation -- Round Rock
Stop and Go Eioat Storege inspection - Austin
Studio 6 iviotel Sam Houston Parkwey Foundatlon/Fioodlng/Plumbing - Houston
Stum Ladder Faii investigation - Ariington
5353 Sugar i~iiii Fcundation l Swimming Pooi / Drainage investigation - Houston

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Summit Apartments Wocd Baicony investigation - San Maroos, TX
Summit at West Rim Foundation - Austin

Sun Oii EiW Plpe Racit - Houston

Sunchase Condos investigation - Austin

Sunchaee Unit 102 - Austin

Sunfish Wastewater System improvements -Auetin

Sunnyveie Ccnciominiums Repiacement Stairs - Austin
Superstructure Analysis Riverview Apartrnents - Ne\.v Orieans. LA
Superstructure Analysis Shadovviaits Apsrtmenis - Jefferson Parlsh
TAN|LJ Recreation Sports Buiiding - Coiiege Station

Texae Department of Bani<ing Structurai investigations - Austin
Texas Dspertment of Correctlons - Abiiene

Te>tas Depertment of Correctlons Aiberii Unit - Abiiene

Texes Department of Correctlons » Beaumont

Texes Depertment of Correctlons - Beeviiie

Texas Department ot Correctlons - El Paso

Tean Department oi' Correctlons - Getesvilie

Te)tes Department of Correctlons - Harris Co.

Texee Depertment of Correctlons - |-iutcnlns

Texae Department of Correctlons - i_iberty Co.

Texas Department of Correctlone - Mitcheil Co.

Texas Departmant of Correctlons » Nevv Bosion

Texas Department of Correctlons - P|ainview

Texas Departrnent of Correctlons - Wichita Falis

Texes Department of Correcttons - Karnes County

Texas Depertment of Correctlons Tower - Amari|io

, Texas Depertment of i-iea|ti'i Laicoratory StairsiGuardraiis - Austin
Texes Land & Cettle Co. Restaurant Fire investigation - Richardson, TX
Texes Supreme Court Eiulldings Ei 81 C » Austin
Tnaxton Road Septic Systems - Travis County

315 W. »35"‘ Apanment FounnationiPiumbtngrsuperstructure - Austin
2909 Thousand Oaks Truee Evaiuetion - Austin

27 Tiburon Dr. GroundweteriDrainege!Foundation -~ Hliis of Laiteway
408 Tiibury Construction Deticiencies - Austin

9816 Timber Ridge Pass Septic investigation - Austin

Timbers Apsrtments Structurai l Drainagei Piumbing Evaluation - San iviarcos. TX
Tcit Water Treatment Piant Design Detictency Evaiuetion - Seattie
5812 Tom Wooten Drive Fioor Trussesn.tliater lntrusioni Bracing - Austin
Tower Carwasi'i Pevementi Buiiding Water Leai<age Evaiueticn - Round Rock
Town Leke Viilas DrainageNvater intrusioniStructurai - Austin
TOWTRC Councli Train|ng Center EvaiuationiReport »- Texas
Twenty-First Street CoOpi Commons investigation ~ Austin
Tvventy-First Street CoOp Structurai Letts - Austin

U.S. Navei Station - ingleside

Unity Church Structurai investigation - Austin

University of Houston Athieiic Facliity - Houston

University ot 'i'exas i_ifeiHeaith Steei Connections - Browneviiie
University ot Texas iviemorlai Stadiurn Additions - Austin

University of Texas Residence Dorm Stairs - Austin

university of Texes Soccer Stedium - Austin

University of Texas ToweriObservation Deck investigation - Austin
Uriiversity of 'i‘exas West Grandstand - Austin

USP Atvvater Code issues - Austin .

230 Vaiico Lane - Waii Piumbness i Structurai Framing - Austin

230 Vaiico - Waii Bracingi'Piumbness issues - Lekeway

Vaiiey \fiew Apsrtrnents Water Breal< i Structurai i Condemnation - Georgetown

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1802 vance Circie Drainege i Fou ndation Deticienciee - Austin
Vlctoria Square Rooflng Repair Scope - Austin
Viliage at Gracy Farms Roof Assessment -Austln
12600 Waiiisviiie inspection - Houston
3900 Warehouse Row Structurai!Remediation - Austin
1803 Warwtci< Cove Moistureii~iVACiStructurai investigation - Rou nd Rocit. TX
Watert Wastewater No. 19 Weikvvays and Guards - Travis Co.
Waterfront Condo Boat Docks - Austin
Waterioo ice House Addltions - Austin
Weberg Furniture Store Root Coiiepse investigation - Tempie
Wells Fargo Beni< ATiviiPari<ing Lot injury - Pasadena, TX
Wendvs Restaura`nt Ladder investigation - San Antonlo
1701 West Avenue Structurai investigation - Austin
Westchester Apartments investigation - San Antonlo
Western Currency Tower - Ft. Wcrtti
Westmoreland Bridge Coiiapee investigation - Dalias

- Wiider Self Storage - Aiabame
2606 Wi|son St. Apartments - Stalr Repairs / Upgrades ~ Austin
Wiiiiamson County Annex - Tayior, TX
Wiilow Creek Apartrnents Roof investigation - Houston
Wimberiy Wastewater i-toiding Tank - Wimberiy
2730 Winding Broci< Structureiicivii »- Austin
8402 Woodhue FoundationiStructurai investigation - Austin
Zone Apertments Swimming Pooli' Buiiding Foundeticne - San iviarcos, TX.

FOR OTHER F|RNiS:

American Founders Ofiice Buiiding - Austin
American Oii Company No. 1 Uitrecracker » Texas City
Austex Food Processing Faoiiity - Austin

Austin High Schooi improvements -_Austin

Austln's Colony Wastewater Treetment Piant - Travis County
B&R instrument Buiiding - Houston

Bain Road iliiobiie Home Farit - Travis County
Banister Lane Flood Controi - Austin

Bastrop County Bridge - Bastrop

Baxter Residence - Midiand

Bayou Bend Townhouses - Midiand

Baai Lekehouse Facliities - Brownwood

Bergstrom AFB improvements - Austin

Bergstrom AFB Squadron Operations - Austin
Big'Spring High School_ Remodeling - Big Spring
Biuebeii Estatee Mobiie Home Park - Travis County
Bluebei| Rldge iv‘iobile Home Park ~ Travis County
Bluebonnet Niobile Home Park ~ Travis County
Brackenridge Hospita| Expansion - Austin

Braiter Lane Elementary Schooi - Austin

Brovvn Dlstributing Compeny improvements - Austin
Brown Residence - Midiand

Brown Schooi improvements »Austin

Browning Hengar improvements - Austin

Brushy Creek Bridge - Rou nd Rock

5046 Buii Creeit Office Buiiding - Austin

Burieson Residence - Midiand

Bus Transii Facliity - Austin

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Butcher Mfg. Foam Panel Testing - Lafayette‘ LA
Campbeli Center - Dalias '
Capiiai of'i"exas Piaza Storrn Structures - Austin
Casbeer ivi|nivvarehouse Park - i\tiidiandl
Cat Mountein Subdivision - Austin
Cedric's - Midiand
Ceianese Chemicai Company Signege - Houston
Ch'andier Buiiding - Austin
Chariie's Liquor Store end Warehouse - Austin
Chariton Ranch Facliitiee - Breweter County
Charier Hospita| ~ Austin
Chevy Chese Center Federal Express - Austin
Church of God ot Prophecy - Midiand
Church of The Hoiy Redeemer - Austin
Church of The Rock - Odessa
Ciark Residence - Menard
Ciearview Office Buiiding - Midiand
Ciifton Lutheran Sunset Home - Ciifton
Cody Cattie Company Resteurant - Midiand
Coi‘fey Residence - Austin
Co|beri Residence Wastewater - Austin
Coiiins Residence - Midiand
804 Congress Ofnoe Buiiding - Austin
Coors Distributor Feciiities ~ lVlidland
Cornerstone Apartme`nts - Austin
Couriyard Apartrnents - iviidiand
CreditBanc Buiiding Far West Bivd. - Austin
Creedmore Meadows Drainage - Austin
Crescent Piace - Midiand

t Qross-Town Sewer interceptor - Austin
Cuiver Road Estatee ivioblie Home Park ~ Travis County
Dairy Queeni N. Lamar - Austin
Davenport Residence - iviidland
Davis Water Treatment Piant, Phase iii - Austin
Deepwater Docking Facliitiee - Kuvvait
Devine Junior High Schooi - Devine
Dobie Junior High Schooi - Austin
Dole Residence - Midiand
Dcwntown Fire Station - Livingston
Drlftwood Surveying r' ATS Pecan Sprlngs Subdivision Review - Austin
Duncanvliie Apartments - Duncartvii|e
East Slde Park improvements - Austin
East Texas Pqu & Paper improvements ~ Houston
Eighih Street Arms Apartments - Austin
Ei Chioo Restaurant - Midiand
Eiroy Roaci Niobiie Home Pan< - Travis County
Emerson Piace Masonry investigation - ivildiand
Enfieid Plaza Foundation improvements - Austin
Fann Cantiiever Crane #1 - Austin
Far West Bivd. Swimming Pooi - Austin
Fiaids Residence - Odessa
First Presbyterian Church - Coiemen
Fisher Sclentitic Laboratories - Atianta, GA
Ft._ Sam Houston Base Faciiities - San Antonlo
Ft. Sam Houston Commissary Expansion - San Antonlo
Forum Shopping Center improvements ' Austin

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Garden City Hwy. @ FM715 Warehouse - Midiand
Gary Job Corps Center - San Niarcos
Gattis Schooi Roed Conv. Store improvements - Round Rock
Geigy Chemicei Corporation - Louisiana »
Gethsemane Lutheran Church improvements - Austin
Gienvvicit Apariment Converslon - University Park
Gi\ii Steei<houseiCongress Ave. - -Austin
Goforth Viliage Wastewater Piant - Austin
Gooch Residence ~ Midiand
Grondview Warehouse - Odessa
Greenville Ave. CondoslApartments - Rlcnardson
Gritfrth Residence - Niidilnd
Grosev Medicai Buiiding - Midiand
2000 Guadaiupe Office Buiiding - Austin
2200 Guadaiupe Otiice Eluiiding -Auetln
Gqu States Utilitles Pump Station - Montgomery County
Hem phiii Park Apartments - Austin
Henderson Residence ~ Midiand
Henderson Vessei Foundations - Midiand
~ Henderson Warehouse - Midiand
i-iickory Ferms - Midiand
Hliilnder Schooi Expansion - Midiand
Hilton Hotei improvements - Midiand
Hinesly Reataurant - Merkei
Hissom Residence - Midiand
Hoiiciey i~iiii Landfiii ~ Midiand
Housing. Water and Wastewater improvements - Kuwait
Huggins Pumping Unit Service Warehouse - Midiand
Hunter Residence - Midiand
idiewiide Viliage - Midiand
|nverness Condomlnlums - Bastrop
Jefferson Buiiding - Austin
Joiiyviiie Rd. Oftice Buiiding - Austin
Jonsson Additions - Midiand
Keiiy AFB Faciiities - San Antonio
Kennedy Residence ~ Midiand
Le Arnistad Resteurant - Midiand
La Prada Subdivision - Gariand
Leckiand AFB Exchange Saies - San Antonlo
Lacitiend AFB Facliities - San Antonlo
Lackiand AFB Poiice Operations - San Antonlo
Lacitiand AFB Shop Clothing 8 Equlpment - San Antonlo
_ Laugniin AFB Air Rescue Opns. Bidg - Del Rio
La,ugii|in AFB Shop Alrcrett Bidg » Del Rio
Leander Hilis Water and Wastewater - Austin
Leander Post Office - Austin t
Levvis Sign Co. Signage - Austin
stvisviiie Apertrnente - Lewisviile
Los Patios Restaurant - Midiand
ivicAngus Roed iviobiie Home Park i & ii - Travis County
206 i'v'iain Buiiding ~ Midiand _
i'vianchaca iviobiie Home Park - ivianchaca
iiiiathevvs Eiementary Schooi - Austin
Metro Buiiding improvements - iv|idiand
Mewhorter Residence - Midiand
Midiand High Schooi improvements - Midiand

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Midiand Savings Association - Midiand
Missouri Street Restaurant - Midiand
Monopod Structure - Cook |n|et, AK
iViustang Meadows Wastewater - Austin
Nakoosa Edwards Paper Piant - Arkansas
Nash Buiiding - Austin
Nieta's Cafe Addition - Midiand
North Austin Junior Swimming Pooi - Austin
. North Bivd. Addn. Office Buiiding - Midiand
Northchase |i Office Buiiding improvements - San Antonlo
O'Donneii Residence - Midiand
Ogden Office Buiidings - Austin
O|d Southern ice House - Midiand
Oitorf Rd. OfficeNVarehouse Park - Austin
O'Neii| Berbeque - Midiand
Pappaga|io Expaneion - Midiand
Pari<\.vood Apariments ~ Richardson
Permian Eieotronics Radio Tower - Midiand
Petro~Tex Neoprene Piant - Houston
Petroieum iviuseum Centrai Power - Midiand
Pfiugerviiie High Schooi - Pfiugervi||e
Piney Creek Bridge - Bastrop
Piantetion Hiiis - Midiand
Plaza Center No. 15 - Midiand
Piaza Office Buiiding "K" - Midiand
Piaza Shopping Center Buiidings F1 & F3 - Midiand
Piaza Shopping Center Signage - Midiand
Poilard Residence - Midiand
Princeton Businese Center ~ Midiand
Pubi|c Saiety Buiiding improvements - Midiand
Radio Shaci< - Midiand
Ramsey Niedicai Center - Austin
' Ramsiand Residence - Midiand
Re'nner Road Subdivision - Dalias
Rlcnardson Apartments - Ricnardson
Ftidgemar Court investment #1 8 #3 Condos - Midiand
Rodriquez Restaurent - Midiand
Roper Warehouse - Midiand
Rowiett Flood Piane Study - Rowiett
Rusk Dentai Office - Midiand
St. June Subdivision - NicKinney
St. iviartin's Lutheran Church - Austin
St. Nichoies Episcopai Church improvements - Midiand
St. Paui Evangeiica| Lutheran Church - Tayior
Sam Houston State Office Buiiding - Austin
San Feiipe Neighborhood Facliity - Dei Rio
Sandra Street Warehouse improvements - Austin
Scottsdale Addition ~ Midiand
Shenandoah Townhouses - Dalias
Shepperd iviernoriai i-iospitai improvements ~ Burnet
8118 Shoai Creei< Dentei Center - Austin
7058 Shoai Creek iviedlcei Office Buiiding - Austin
Shoai Creek Office Buiiding - Austin
Showcase i - Midiand
Shuii Warehouses - Midiand
. Six Ranch - Midiand County

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Si<i|iern's Drug Store - Midiand
Siedge Residence - Midiand
Smith Residence - Midiand
Smith Buiiding - Midiand
Smithviiie Landfiii - Smithviiie
South Austin Fire Station - Austin
1006 South Big Spring Addn. - Midiand
Spicewood Wastewater Treetment Piant - Austin
Stephenson Warehouse - Midiand
Sundae Paiace - Austin
Sunshine Camp - Austin
Superior Oii Buiiding improvements - Midiand
Sutton Piace Condominiums - iviid|and
Texaco Ofi’shore Drlliing Piattorms - Houston
Texas Department of Heaith and Mentai Retardation ~ Austin
Texas Department of Human Resources - San Antonio
Tha)rton-Couiver Niobile Home Pari< Wastewater Utiilties - Travis County
Thomason Townhouses - Midiand
Timberiine Terrace Office Buiiding - Austin
Town & Country Day Care Facliities - Austin
Travis County Biood Benk - Austin
Travis County Courthouse Annex - Austin
Travis County Courthouse improvements - Austin
Travis County Courthouse Pedestrian Bridge - Austin
Travis County parking Gerage - Austin
Travis Street Lo\.v income Housing - Midiand
Treanor Equipment Co. improvements ~ Midiand
Tres Amigos Restaurant - Austin
Trinity Lutheran Home - Austin
Trinity Presbyterian Church Addltions - Midiand
Trinity Schooi improvements - Midiand
Turner Buiiding improvements ~ Niidiand
Twenty-fourtn Street Condos - Austin
Union Haii Baptist Church Addn - Liberty Hii|. TX
Union Texas Oii Co. Extraction Piant - Gelsmar, LA
Unlted States Embassy - Guyana
Un|versity Lutheran Center - Austin
Untvereity of Texas Regents‘ Oi"iice Buiiding ~ Austin
University of Texas i-ierry Ransorn Center - Austin
Univereity cf Texee of the Permian Basin - Odesse
University of Tean Swimming Facliity - Austin
Vaughn Buiiding improvements - Midiand
2714 W. Waii Warehouse - Midiand
WashingtonllvicGervey St. Warehouses - Midiand
Water Line Utility improvements - Martindaie

' Water Tovver- Martindaie
Water Tower Renovation - Midiand
Weatherford Landfiii - Bude
Western Sizzler Steekhouse - Midiand
Westgate Business Center - Midiand
Westgete Acres Beotion 2 Subdivisionii.itilities/Deveiopment- Midiand
Westgate ivitniwarehcuse Development - Midiand
Westiake High Schooi improvements - Austin
Westminister Nianor Addltions - Austin
3000 Westminister Residence ~ Dalias
Westminster Prespyterlan Church improvements - Austin

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Wiid River Canyon Park - Midiand

Wi|son Buiiding - Midiand

Windmi|i Hili Apartments - San Antonlo

Winston Swimming Pooi Facliity - Midiand

Woodlands Sireet, Bridge & Drainege Feci|ities - Woodiande
Yancey Residence » Midiand

‘i',W.C.A. improvements - Richardson

Young Vehicie Storage Facii'\ty - Midiand

Zolier Residence - Midiand

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Fiimirus Dnnsuiting Group. lno.

100 stsrlnlh. Buits 410

i'.tcAlien. TK Tlili!id

{SBtli 683-1?83 Tolophons

iBBBi 883-0157 Fscslmlle

Cortiiicota or Authori:stion No. F-‘lB-t!

Merch 8, 2011 ` '

Nir. Tim Berzlza

Chubi) insurance Company
P.O. Box 42065

Phcenix. AZ 85080

`ne: claim no-. 040510119089

lnsurod: _Pharr-Ssr\ Juah-Aiemo iSD
Pro_iect: Structurai Coiispse Evsluation
Sub]sct: Supp|omontci Lettsr

RCG Fiie No: 154526

Dear Mr. Barzize:

. i

On Jenusrv 21. 2011. Rimi<us Consultino Group {R|rnkuc) published our Repc'rt cl
Findings (Roport) pertaining to our evaluation ol' the extent of damage to the school
building located at 714 East Buslness l-llqhwoy 33 in Phsrr, Texas, ss s result of a
partial collapse of the sb'uowro v.fhioh occurred on September 22. 2010\ during
renovation work being performed by Texas Desocn. a ocntrao'ocr. in that Report, we
stated that demolition was supposed to be limited to the connecting structures between
the main building and the detached classroom buildings st the east and west ends ot
the main building end was not intended to include any portions ct the main or detached
buildings themselves We also stated that collapse ol' the east waii\ol' the main building
above the tlrst floor and collapse ct the second floor and root from the asst end of the
main building woodward to column |lns1 otero results ct the demolition methods and
means used by the demolition contractor to remove the connecting structure bowden
the main bonding and the east detached classroom building end were outside the
intended limits of demolitionl We turthsr stated that cracking in masonry columns at the
north and south sides of the exit at the west end of the main building and movement cl
the brick veneer at the west end of the building were likely results cf demolition means
and methods used by the demolition contractor and wore outside the intended limits cl
derriclltion. title also stated that observed exposure ot reinforcing stassi in basement
columns in column lines 3 and 7 was not a result cf the demolition wcrit.

`The locations of column lines were indicated on a drawing contained in- our original
Report. .

ERO 000896

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March B, 2011 '
Rce Fire Na. 154526 P` sj_z

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lillr. Tlm Barziza, of Chubb insurance Company. provided lei<us with a copy ct a cost
estimate (the Estimeta) prepared by Texss Descon. dated December 21. 2010. and
addressed to ERO Arcnltocts. tillr. Bar:dza asked Rimkus to review the Estimate and to
determine whether the proposed work fell within tile scope oi damage we determined in

our nspon. This supplemental tenor is being summerlin accordance martha
request

The Estimate contained three drawings and attached proposed cost details l'or repair
Soopss t, 1A. 2, 2A, 28. 3, 3A. and 3B.' 'ihese repair scopes.ara briefly described
below based on lite Estlmate. along with the R|mlrus response as to whether the work

tbsesdrlrvlthin the scope of damage tva determined ss e- result ct the partial collapse cf the
uil ng. \

§_mo_e_t
Work ltom: Removei of collapsed wall material

Rtmkus Response: This Work is a result of the partial collapse-iq

§§Dm£t

Worit ltern: Steel lolsts. metal deckingl and concrete for approximately 1410 square .
feet ct ticor area. ` '

Rimkue Response: This work la a result of the partial collapse and corresponds with
the collapsed portions cf the second floor and root at the east end of the main bullding.

W;EEI;K.B§£MEL

work item: Remove and salvage 24 linear feet by 42 test high (t,,OtJa square teet)
area of existing brick and remove an equal area cf existing structural clay bdck.

Rimirus Responss: Thesa items are shown entire Eai:lmats'a drawing for Sccpe 2 as "
being located at the north and south ends ct the collapsed ticor and root sections
Because ct the collapsed condition cf the roof and iicor, we ware not able to inspect
those walls attire lime of our site vlslt. l-iowever. damage to these walls would be
emected to have occurred during the collapse of the portions cline second ticor and
the roof, and the work is consistent with the partial collapse

§dmazrmirsii.aenuuc

Work item: install 120 linear feet by 37 feet high `8-|nch CMU walls and 120 linear feet
by 10 feet high 12-lnch CMU walis.

ERO 000897 .

 

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invite ..,~ ,.,.. ...r.o..= ..¢ ..‘.'.'i"su;t-$r£ito‘:t.t;o.t i":'ti:.'» . .' " ‘ ..,‘¢'.‘.~»"- . 'r;.'- e‘-w.':lu\i'.:rj"'£hutr.,~;;£.';idrlisir‘iiirlt'.nt!

   

Rimkue Reepon\e: The Scope 2 drawing shows these wei|s to be located at the east
end of the building and at the wall sections removed under Soope 2A. This work is
consistent with the partial ooilepsa. Besed on Ftlmkus measurements et the site. the
length of the installations would be approximately 96 feet, not 120 feei..

Work item: install 24 feet by 42 feet high brick wa||.

R|rnkus Respon'se: This corresponds to the brick removed and salvaged under Scope
2A end would be consistent with the partial collapse We note that there are no cost

estimates for installing brick across the east end of the building where the wall
collapsed

Work ltcm: Darnp proofing 24 feet by 42 feet_of exterior waiis.
Rimkue- Response: Th|s corresponds with the brick removed end salvaged under

Scopa ZA end would be consistent with the partial collapse Ae With the brick
|nstel|etlon, we find no cost estimate for damp prooan the east end wall of the building.

.S_EDQ.K:_EMHBIME|:.E!H
Work litem: Removai and salvage of 40` linear feet by 42 feet high (1,680 square feet)

. brick area and demolition oi' an equal area of structural clay brick.

Rimkus Rssponse: The Eetimaie's Soope. 3 drawing indicates this work is te be
performed at the western portions of the front end rear pro|ectione at the eastern portion
of the main building. As suoh,.thia work is not within the area ot th'e building damaged
by the partial collapse

e- -`

Work ltem: Removei and salvage of 140 linear feet by 42 feet high (5,880 square feet)
brick area and demolition of an equal area of structural clay brick.

lekus Rosponso: The Estlmate's Soope 3 drawing indicates this work is to be
performed across the front end east aide 'oi the front projection et the western portion of
the bullding. along the entire west end of the main bu|idlng. and across the rear and
east side of the rear protection at the west end of the main building. Our Report
indicates that there had been movement of the brick at the northern portion of the west
end of the bulld|ng, so the only brick effected by demolition work et the site would be en
approximately 38 linear feet by 42 feet high ii .512 square isst) anaa_. The only damage
we noted to the structural clay brick was at the columns at the north and south sides of
the west entranoe. so.the demolition of 5.530 square feet of structural clay brink would
not be within the area of the building damaged by the demolition work.

ERO 000893

 

 

 

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Men:h B. 2011
HCG Fllc_i\lo. lti~itizi$ Fagn ll

-oo-tl-~i. ' -

Work items installation ct 230 linear feet by 37 feet high iit-inch CML\ weil end ct 230
linear feet by tbfeet high 12~lnch CMU well

Rimkus Reeponee: Since removal of the etmoruml eley brick was not within the area
of the building damaged by me demolition worley installation of new walls would not be
within the area of the building damaged by. the demolition work.

work liens installation of tsc linear rear ny 42 rest high sum

R|mkua Responsa: alcoa removal and salvage ot approximately 35 linear feet by 42
test high brick wes within tile area damaged by the demolition worit, installation el a
similar area ct brick et the west end oi’ the building is nil that Wouid be within tito-area
damaged by the demolition worl<.

Werk ltem: items prooilng of 230 linear lest by 42 feet high weils.

Eitnliue Reepeeso: Since removal end salvage of approximately 38 linear feet by 42
test high brink was within the ores damaged by the demolition wrlri':,l damp ordering oi a
similar area le ,eii that would be within the area damaged by the demolition worlr. -

- This Supplamenisi Letter was prepared for the exclusive use ct t‘.linubb insurance
company end is not intended t'or any other purpose Dur letter is based on inion'netlon
availabie to ue at this tirne. Should additional information become avelleble, we reserve
the right to determine the impact if any,`the new information has on our opinions end
conclusions end 't,o revise our opinions and conclusions if necessary end warranted

'fhank you tor allowing us to provide this service if you have any questions or need
additional assistance please ca|i. . '

TifE OHii$iNAL t'.!i’ T'H{»’§' REPOJ`€T¢ 3iGNE'i) AND SEALED' BY THE PROFESS!DNAL WHO$E NAME
AFPEARS DN iIHi$ PAGE. 15 RE?_'AINED iN THE FiLE"§ QF'HIMKUS UONSULT!NG GRUUP. iNE'-`.

 
 
  
  

  
 
 
     

    
   

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EHAM or*- ., j / W W . _._»t.¢l\,\_;-h¢: Mr',!:m‘]§"
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ERO 000900

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2155 W P|nnacie Penk Ro£ld P.O. Box 420|6
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Atin.: Lnrry Docpperlschmidt ` " 5~ (`j
P.O. 303 769 ':- in
Piorr, 'rx rssvv ‘° , ..1
ncr lnsured: th santoro Alrrmorsn ll ij try

Policy No.: 35822323 " ,;1 *0

claim No.: 0405)0119089 , °

Date ol` Loss: Septembor 22, 2010

ert)'ng Company: Grcat Northem Insurance Company

Dear Mr. Doc_ppenschmt`dt;

'I'itls letter will ooiorowiecigo our receipt of tire above oaption.od oislim and roqooat for ooverago under your
C‘.itttbb Custonmrq'€lartsir:_ insurance poiir:y. Wo have thoroughly reviewed your polioy, and on behalf of
Cin:ot Northcm insurance Company. wit must respe¢tti.iiiy dco| irle` your rcqur.nt for coverage to repair tim
areas of the intended demolition that collapsed during the demolition proocaa. irova tile remitting
damages to the building that were not port oftlre original scope of demolition would be oovored. It is our
, . __ understanding thorpe repair costs aro pending. 'i`h¢_l reasons for our decision nrc set forth holow, along with
trw ) specific policy provisions that support our conclusion

Ol.tr llw\:stlgation included rt detailed telephone interview with you, an inspection by a licensed
independent od_rtrr»ter, rm inspection by rt licensed engineer and a dooth review ot'-your insistence polioy.
ii was discovered that your oontrol.‘ltor caused other sections ofthe building to collapse outside the scope

oi' demolition that was part of tire repairs to the building. We have enclosed o copy ofliro engineers
report for your review.

We would like lo refer you to the ibm #80-02-1000 (Rev. 6-05) section `0f your Customnrq Ciassic
policy which provides in puri; _

Bulldlng And' P¢r.ronol Praprrrly
Coutmcl , - h

Words and phrases that appear in b'o|rl print mosleyoolr.l martings grid are doiined in the
Property/Busirtoss Incomo Conriitlons and Definitiorts form included irl this policy.

'llrmughout this contract the words "you" and "yotlr" refer to tire Narnod insured shown in the
Deelarntions of this policy. The words "wrl," "us" and “our“ refer to tire company providing this
mruranoel

i"ofl¢-_z- l-;\~¢'luslons The |`oiiowtng Policy Exciuaions apply to ali oovorogol in this contract

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Plrrrrnlng, Deslgu, Marariolr Or Mor'rrrennnee

Tiris insurance does not apply to loss or damage (lttelurling the costs oi'correeting or making
good) ostlsed lay or resulting front any faulty, inadequate or defective

‘planning,, zoning, development, surveying, sitlng',

- design, specifications. ptsns, workmanship repair, oonsiruotion, renovation, remod

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grading, compaction; `

.-.§~.s area

s£-z.nri elliott-l
it

'- materials used in repalr, construetiott, renovation or remodeling', or

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o|'pnrt or atl of any property on or off the promises shown in the Dcolarations,_

Tlris P|snning, Deslgn, Materiais Ur Msintenanee exclusion does not apply to ensuing loss or
damage caused by or resulting from a peril not otherwise excluded

Your policy provides rowrage for direct physical loss or damage to building or business personal
property, caused loy or resulting from a peril not otherwise exotndetl. Reg,rotiitlly-, there ia no coverage to
. fix the areas oi`the portion orthe building titnt were damaged within the original demolition troopu.

The Company regrets that it is unable to assist you with n portion oi' this claiml To the extent that you
have additional inforrrunion1 which you believe should be oonsiriered`by the oontpanyl you may automlt
thin inforrrtation to the omnpany. in writing within thirty 1301 days oi' the date of this ietter. if the

company receives additional infonnatlon, we will promptly review it and respond to you os`eooo ns
possrl:tle.

Groat Northom [nsurenee Company must respectfully advise you it must continue to reserve any sort all
rigirta which may also exist under the terms oithe insurance contract whether currently known or

` unlcnown, including the right to rely on allspplinable onolusions and limitations on coverage No waiver
or estoppel itt 'inlenrled, nor should be lnil:rrcd.

Should you have any questions at all, please feet free to contact me at (80'0)~252-4670, extension 3055.

Sineerely, v

D¢aa£%m»wy . `

David Martinez

Property Claim Examinet'

nor Pharr San Jusn Alamo'lSD
Attn: Rene Cornpos '
P.O. Box 769
Pharr, TX 78577

Cameron dba Shepard, Walton, Ktng insurance Group

ERO 000902

 

 

 

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Repraedntallvea. of gha Pherrise§_n .Juan»Alqme lndepend_eo‘t School D`lg_tr[e`t (PSJA;|S»_D)

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bean pe'qfdrmer_l by the 'iéontracto'r. Nlr.' Bru'ée l. M`qr`rjs;,_. .HE,,.parfdrmed an orr-site
lnsp'eictlen of the l§l'll|dlhg oil Januery 118 2011-. Mr'. R'eyl'l`aldo Sanchez, UESrlslructlon.
manager for PSJA ISD. and"' Mr S¥e.ve Lemmons, el Unlve`rsa`l C\alme.~ Servl_cas'-, lnc,
'Lif§¥e present<ddrlng portland 61 ollr ln'§pecllon. Mr. Morrls eld`o v|§`lle'd wl!h Mr.-.- '.R"¢'he
Cempoe_,_»qn':Ass`|slaht Super`lnt"d`hdent 01 PSJA lSD, durln__g his dn“§l_t&lnspectlbn-.

TH!'¥ report was p'_r'.e_pared lfor the exclusive use 61 éhubl) lns__urance Compfeny an'd ls _not'
lhieh'd‘ed 191 any other p`urpq`eer ~Our report ls based on lhe information available tp us
at ibla l_lr_ne, res described _i_n Sec__tl_en lV,' BAS|S _OF REFGRT. Should _ad`dillo_nal
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new lrlfdrrq§i;lpq hgs_ on our opl`nl,ens end conclu_slons gq¢L to revise ;.¢:)\.\\*l oplnlom and
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Set__:t_`lon ll'
QUCLUSION&
“w'lliltliontnoolt dod omit #MMMl
1._ Demolitldn was e`iiibi>osed to .be ltri'ited to th'e' -oonnemlng etr`u`oturee between `the
main building andlthe detached ftll'eeecoom btitldln_gp. et i_he' east end west ends of the

main building an`d ,w`ee net*lntende'd to"?i`nd|ude en'y' Mons of the nifdln or detached
holidinge themeelves.

 

`2. _coliapee_-`gl'nia=eam weiltol.l;;em\n building downwath topian 'me.pouapse al
’iho'ee_qo_r_\d`fibor: e):_eitmvf loom the eee_`i~end offtl]e»-maih buildan Wiietwdcd`t`o column
§llne 1"were te_eu’lte ol the demolition means end thethods used b§_' the demolition
contractor 10 remove the bonnaotind `eiructtiie between tile main b_"ililldlng a'n'c'l east
defended classroom bdlldl`n`g'. Thle described area of collapse was outside the-
mtended; ilme ol. demolition ;Pre¢exlsung conditions and tlie_ deem grid
'eilitstruetton£ol-'lii\e'iéorlgln’alibulldin‘g` may have lnt'iu'enédd'.th`e eo,llepe.e.

`3'.' C`recltl'ng ln- maedn'ryoolurhne et the north and south sides oi' the exit et the`we'st"dnd
or the,.melr_l_ building end movement of the brick ygg__to;e_lj nt- tha west end of_ the
t)t.tll`dlng;l e.re `li_ke`l§¢ results of demolition meens'enc't methods" used by the demolition
oontrgobq__r, '-`Pt'e- -e;cletlng conditions end design and construction features ol the main
;bulldln`g'_. filing :He’ve oddt'ilbute'd. Thl`s damaged area was outeide the intéhded limits
01 delt'mlll|dh.

4.. Qi_:eei'ved'expoe_tlre 01 re|nlorcing steel:ln"`beseme_nt"cottlmns ln..oolumn`~ lines S'and'.r
_.ie. .not a result eI_>"-denmlttipn wor.k penfarr'ned by the demolition oontractor on the
conneétlng etmctu_ree end le not associated _wlth t`l‘ie pertiel collapse of the main
._buudmg-._

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.FIF?A“MWBLM’# install '='»' i"'»'_ _ :J`FQW§"M dirti%i'i*`?ii§ii@§§?iiil

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~T;_hq-_ main building contained a_' hasanth plus two additional iloors (Photogr'stphs. 1
through 5 in Atta__c_hment A). .‘For purposes oi- distillsit`iii`?l ill this F-€P¢§l'fl the fi"°lli
.g_lsvation, isolhg` Bi'isin"e'ss i-il`ghway 83. was reterencedito tone north The` structural
"fft\rhe of the rhth buli`tlil‘ib` '.'-wés of relnidr_ciiad' `.conorete with io'ad- bearing '<`:isy tile block
*w`ails 'at thel .e'eet and west ehds of the bulld|n'g. E>tter_i`i_il‘ wails:" are faced with bnot`t
veneer `.l?ti`e` drawing titled "Sohematic Fioor P|en with 'App`roximete blmerlslons.“ lin
Attsctiment B;'- shqwe_ lh`_e locations o_l the_ q_o_lutt,ths_ s___h_d bedms op '_the lli'st lloor which
support the second itpor.' Ths locations of the oot_urnns supportlhglli'le;'__ lir'st floor end the
root were in the serna relative locations interior dividing wells had been tsmo\_red prior
?t`o' out `Inepeotlon. end debris fromthe' collapse had been r'e_moyed.

The site cohtsiried th'r`se detached buildings in addition to the main building. Clsesroom
buildings had beett- oo\"istructed et the- east end west sides of the. m_aln bulldlng. with
igepe of eppro)`tir_ns_teiy 16 lest between the rhein building tin`d the c|a"ssmom l)t`lltdlrrgsl
- A llbrlttvbulltilnd'i.ires lobet'ed'-'st' the rear o_l the rhein building

Mr. Rone Cempos. 'en 'Aselslent Superlnlend'ent. with _P~fq‘:tA iSD provide the t`o`llo_wl_t'rg
ilnformet|on: rsggllding;tthe. property:

Th_e :ms_ln building wes constructed in 1915. lie believes the asst end west
classroom buildings wore dohslructed' m 1921 or _.1926 l-le does not know when
the library building was;;_oonstiuéted.

_ ¢ Enolosed" walkways or oonnector-s"rbetween lhe.n,lel_r_t building and the east end
west _cleserporh buildings had been donstruote`d‘~et sometime in the peet.

    

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v The demolition contractor `(-`_Fex_as Desot')_r"l) had removed thews|kway is'trii't‘.lure at-
the west side of_ ths_ main building l"~l_e doesl:no_t know what edilil_m'i@nt di
techniques ware used by the contractorduling that work,

9 |_-le believes the contractor was using a |aollhemmsrto sepath a beam et the
welliway st the asst side o_i_' the mai`n,` building whemlhe east w_sLi; ;and portions ot
the second floor:snd tootst .t_h_e east slde_- _.o`l: the msln building @ll`spsed.

'Act~.'¢':riiiing to Mc: Rd&iheido San&h'ez, PStlA lSi'.l Constlit".lotlti'l_i Mshager,~ the enclosed
_ walkways st thd. elliot a`nd west ends of- `the tntiln building had been 'ot 2-etory
construction Thay` have noticed some damage to the brink and tile block well at the
west end 'ol ih'e main building since the "collapee` tit the east end cf tl`l'e. .bull_dlng. M'r.
Sench'ot': also redorte_`d theft the lacks supporting th_e til'et `end second floors end the roof
have been-. initalled sihoe,~_ th`e collapse

Obedrii`etloh'd n

observations maae:durln'q_ surmise inspection are summsrlzeo..iiel¢w. '-Pli¢lograpns
referenced in the text ere` contelnedlln Atta¢:hment A. `

~ interior dlvldlnb'“-walls had been removed in thej;' bascln`t'lnt. first llool:. s'n`ti second
llool*' e¥ooelng.theiooncrete structural system cf ih‘e‘ building (Phptograph_s _6, 'r.
spd s`). -si_gel lacks nac palm installed on sit levels cline main building.

,t' `Z:Vertl'.csi refillidrclng stesl was visible in basement coiumns=ln_-§olumn lines 3',e'_lrld
7 (Phet_'agrspns s_-anl`l 10).

v Tl‘le second tioo_t. and rocl'ih_ad colepeed between the east end of the main

bulldlh'_t_t\_attd column line 1. as had moot of the eastwa_ll either building above the

level of.`,the first iloor _`(Photog_rapho -!l and 11).

H‘ ~".-"--.`» :_`_~_'.._..;`:`-,':`." ' -
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£JB“UIW 21_ 2011.
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(Phntcgriphn 12_-. andr1$)

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th_g elde_e_' et the' west exit ehh`eti hear ';'_the `i`ev,el et _tl`rii_i first "iioor, with masonry

colun'irler.eiitnnt:ling sheila thei level (Photogi'agh_ 175 title observed erecth iri

the recently rcp_iirrnriis en truth sides ct the g_itli; arrive the met-ritter ievel.

' Concrete l`:hllimli`h had heen'=`lhstei|nd et the ext&i_`tit"ei`ih`e l;iiain buiidiiiq Idr-'=the
welkwa:y"(Phn.tt`ig'rligh't$).

~' Concrete heedb're`i slipperted by_ ioaéi-bel`t`r-`ih'h inasenr,y. were installed-above the '

windows 'a'l .llienyé_el-.-enii-orilie building (ir'l'mwgranin' 'io),

'~ `i_'.h'e_re".‘we`s eviderlié°.` piiil’i'icvement off the brick veneer on the ilrst .iioor'.e`it the
northern ponterretii`ierreni neil nr lite maintaining winton-ann zin.

Analysis

lV_lr. Camp_os, of P!§.IA |SD_, providedRinihue with e copy of en engineering report on‘th_éi
!buii_r_ti`rig prepared by Frenk_ Lgrn & Aeeoeiate_e, |no.. Goneiiltiiig Eng'ineers (Lnrn). eric
dete?'d Ut`:tpt_rer 1_8, _2910.. `lhtorrnaticn and conclusions eel-ltained |ti th'tiit report ere
euml,rterlzeii below:

iv .Th`e region etetee ih‘_et; they visited the-site on Sebtember 22, 2010,_ a"nd on
Obtoii'e_`t»S'.--Zu‘iti.

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prepared by ER_O Archltects_ dated Febru`ii`ry 24, 201,_0 The report stated thetthe
proposed dartid|ition involved the counseling eti'i'lc_'mres between the me,ln

   

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:§ttl\§‘}pg._ §£t_r't_L-‘_ -the._ d_ét'§ohird classroom §§§o`t'ur§_s_ _111§'§ mclu§ed 11_1§_ §orl_§ro_th._ stah‘§
lot the §eoond floor and root cohord_i‘qn oot_um_n§ 959th 1119 ma_ln‘bull61ng ahc_t the
dotu§h,gd st_'m§ttrre_s, §n§' the two |ev§ls_ §§`_§11§- §§§r;r;q§i_r§a_twe§l,t,_th'.a .'§§l_`tlmn's Th§
` report stated that the llmlt 01‘ d§ml§tl§q§§t§ppq§;§§¢§§e 'fa.¢=e §§ .the';_egtta'rlor`~v.`i§lts
01 the main handling and daiaqhed'-err_u_o.tur.e§

:~ Se_v_erét §hdtographg in tha report ld`e_r`\tt_tted _a ti’§tv§ BLS_B back_hoe with tilgh
"t_r_np_a__§_t ch|j;rpt_r_§g hammer parl_»:§c| ne'§r tha' northeast §Q_rner' 01 1`h'e_' malrr butl_r_ttr"rg a_t
.th§ lime the p`hoto_g forthwqu tak§rl_.-

o They~bbsarvélt §rackir_\_g th the m§§onry o§ldmhs 'a`lt '_t`htr_ o'xlt on the west 'alcle of
thé r*'l“r`al_n E)'_ut|dtng.

~- "l‘-hei-t§port-- -statéd that the conne¢':ling strii`otu'r`e§ bthh`bh the_ main building did
`th§ o|q_.'_rsr_'oom structures wero'¢slgpporte§ by oast_-lh-plade mrt§rete §oll-i`rhns
poured'“ag§lttst the exl§tlng1m§son1y columns `a`t th'é "e§ttt§ at the. end walls_' of the
fmth butldt"r’r§`. Thé` report states that thefts wér§ 110 o`rt`pz'iris'lon |otnts between the
».ti:llls_ti§q masonry coluth ahd 'th'e' new exterior co'n'§r`éto odlt`tt'r`ms' `artd that these

.....

-colur'rtns wore plastered` togeth§r, cwa`tt`ng` a b§hg;betwoen; them.

'¢i' ‘l’he report stht'od that ther'e'_ wald h'o concrete 'or.- reinfor§e'me'r\t- lns'ld,'é the_ masonry
columns at§'tl€l_`o endo-` ot the r_r`talr`t bulldlr'tg

y The r§po`rt sta`_te'd that 'an` approximately 12-10'§1.- by ~'80- foot soctl§'h of the `r"ti,o’i and
seobrid. 111_`)'§_14£61. the main b.`ultding had collapsed dtlrlng_ 'th'e :domolltl§n 01 the
structu"rir. connecting the math buttoth with th_e e`aét classroom bultdln"g.

w. The nepot*t §1'1\1§_§ that lt ts their b_ptnlon that the collapse of the structure was
oaus§`d b`y _d§molltlon means and methods and was possibly affected hy, p'r_a- .
extetlng oortétlttbn§~and by the design and oonstruo't|§n of the ortglna'l building.

   

Jarrunry 2§,2§§1 q `- "
1103 Flivwn. 15452§

 

 

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lllir-.- Steve. Lemmons nt,Univarsal flintde §_`al_tvlpes. inc . pmvi’tl§tl leku's with ddpi_b’a of-
- photograph_s\he look att-the site prior ic the rem_ovn`i_rd'i rub°t_ilb’ trorn_ th§ coileliilre.

-According l'o- ti,r__e Lam repql‘t. derri'clltlon Wi)rlt;~;"r_iér'.ldi"ni`cd by'théi?'cdntractor¢"h'as. to
include the cohnegilng liitii`il,t=ti_i`l_ia`s heti'gij§§n the main buli`dlhg` and the detached
tila_q$i`idom fhp.lldlp‘fgr"i- at'-*.tl"re'§adt `bnd'Wl§éf'-dnd ol.il`tbl `n'ia'lh` bulldlnq',_ "en'd!ilhe limit ot
demdiit|cr`t"il)`eslhd .dtpti`?“at§lhe ;15¢`§1`§;-.5{5 -th`d'mblh h`ulldtn§‘bntt"th'e dntn'c‘h_'ed-.otructuree.
Ihle: ~.de.s`crlptidn'~ leg idb'rr§i`stent ` with intormailp,'rr'-i prdvld'bil `hlr_ -trir. ~C‘empos. end im
Sanchér¢ df`FSJA-"isb. added dh' this inforrrtatidn. weconduited;:thet'~demolition was
e'u'pp'osed to be limited .to tha' cdnnebling -`structures tietwé§r,\' the main building and the
detached ciassrcom buildings attire ea`st and west endstbf the rnain building e"r'td was
not intended to include any p§`nicns. of the mal`n. orjddtach'ed building__s lhemael`l_rr'r§.

G_oilepe_e ot- the east wail:'. o’f. the main building above t_h'e`_ llre't floor end the cdepoe' of the
aec`drtel'i`icor and roof `fr'ont'»the east end ol:ll.'r§ main building westward "?to~ obli.ini_n- -|_l`ne 1
'were resulte. ot the dnmoil_t_ion means and-- -_n_r§t`hods used p'yl the demolition contractor to
remove t-he cooperating structure between the main ibuii,dl_ng and east detached
classroom building .This area cl collepse wa_s putslde the intended limit cl demoll_tl9h.
Pre¢exlsting; ognd|_tinns and the tinslgn and'=‘ construction Q`f~ the original buit'diiig may
have influenced thq; collapse. P_re-exisilng conditions that may have iniiuendbd the
nqll§p§§ includ§ the vy§\ght ct the- concrete overlay §bserved en the second litton
hondlng tog§t`her of the orl'glnai masonry columns and the new enterio't.` concrete -
éblumn_s fortna cdiinecllng etrucltires. and 'o`racking~ or bpalllng of the ciay. tile hincks
Prii:i_l" tv the collepbb. i`-.'eatut"ns i:`if the design rand ithnstruntlon nl- the original building
that may hand influenced the b`oi|epse lnclude tl'iii ute ot ldad'- hearing exterior while to
support the birds »of concrete beams and slabs. th,b reported absence of any
relnld`)'l`l&§lhbnt in th'e masonry doltihtns, and the a_i:`ebnce o.l', eufil'ci'ent connections-
Bétwe"§n the loed- -bearin_g walls. `d"n"tl the supported cdnbrtate structural elements

t.-'iracidr`ig in masonry coturnrts at the north and south sid`e`o rif the exlt.*at the west end of
the main building and movernbnt ct the brick veneer at the west end nl llie building are

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January 21, 1ittl'i‘i '
RCG Fl|» No. 154526

 

 

 

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CAUSE NO. C-5149~14-H

PHARR SAN JUAN ALAMO lN TH.E DISTRICT COURT

INDEPENDENT SCHOOL DISTRICT
Plaintiff

vs.
HIDALGO COUNTY, TEXAS

TEXAS DESCON, L.P., DESCON 4S,
L.L.C. and ERO lNTERNATIONAL,
L.L.P. d/b/a ERO ARCHITECTS
Defendants

WJW)MDWJW>EMWJW'JQMWJ

389TH JU'DICIAL DISTRICT
AGREED L.EVEL 3 130 CKE’I` CONTROL ()RDER
On this day came on to be heard the AGREED MOTION FOR ENTRY OF LEVEL 3
DOCKET CONTROL ORDER filed in the above-styled and numbered cause. Aecordingly, the
Court establishes that discovery will be conducted under Level 3 and establishes the following

AgreedLevel 3 Docket Control Order in this case:

A. JOINDER OF ADDITIONAL PARTIES. Additional parties must be joined
on or before August 3, 2015, whether by amendment or third-party practiee. The party causing

joinder must provide a copy of this Docket Control Order at the time of service. Such joinder

may occur without leave of court.

B. DESIGNATION OF EXPERTS. The parties shall: (1) designate experts
pursuant to Tex. R. Civ. P. 194.2(f)(l-3); (2) provide signed reports from each retained expert
pursuant to Tex. R. Civ. P. 195.5; and (3) produce Bates-labeled work files of retained expert

pursuant to Tex. R. Civ. P. 194.2(1)(4), in accordance with the following schedule:

1. Plaintift’s deadline: August 28, 2015
2. Defendant/'l`hird-Party PlaintiffDeadline: October 16, 2015
3. Third-Party Defendant Deadline: November 20, 2015

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Reviewec| By: C|audia Rodriguez

C. MEDIATION. The parties have agreed to schedule a mediation in this case
on or before December 18, 2015 with a mediator to be agreed upon by the parties. If the Parties
cannot agree on a mediator, then the Court will appoint one. Further, each party must be present
by a representative with full settlement authority for the party for the entire mediation Each

party shall bear its own cost of mediation

D. DISCOVERY PERIOD ENDS. All discovery shall be concluded February
19, 2016. Parties seeking discovery must serve requests sufficiently far in advance of the end of
the discovery period that the deadline for responding will be within the discovery period.
Counsel may conduct discovery beyond the deadline by agreement, but incomplete discovery

conducted after the deadline set forth above Will not be grounds for delaying the trial.

E. DISPOSITIVE MOTIONS AND PLEAS. All motions for summary

judgment or other dispositive motions or pleas must be set for hearing by April 1, 2016.

F. CHALLENGES TO EXPERT TESTIMONY. All motions to exclude expert
testimony and evidentiary challenges to expert testimony must be filed and set for hearing by

February 19, 2016, unless extended by agreement of all counsel or leave of court.

G. PLEADING DEADLINE. Plaintiff shall file their amended pleadings on or
before March 11, 2016. All other parties shall file their amended pleadings on or before March

18, 2016. Any party shall file any additional responsive amended pleading by March 25, 2016.

H. PRE-TRIAL. All parties must cxchange: (a) exhibit lists; (b) witness
lists; (c) page/line designation of oral/video Deposition Excerpts; (d) Motion in Limine; and (c)

proposed jury charge by April 8, 2016. The deadline to exchange objections in response to

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Case 7:15-cv-OO465 Document 1-8 Filed in TXSD on 11/06/15 Page 52 of 7 led

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items (a), (b) and (c) is April 12, 2016. The pre-trial hearing will occur on April 14, 2016 at

9:00 a.m.
I. TRIAL DATE. The jury trial setting is April 18, 2016.

J. AlV.[ENDMENT AND OTHER MATTERS. This order may be amended
by court ordcr, for good cause shown, or by written agreement of the affected parties. Any
matters not specifically addressed by this chel 3 Docket Control Order shall be governed by the

applicable Tean Rules of Civil Procedure, Hidalgo County Local Rules and/or other rules or

orders of this Court.

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Counse!for Texrrs Descon, LP and Descon, 4S, LLC

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Counselfor Third~Party Defendants Frank S. Lam, P.E and
Frank Lam & Assocz'ates, Inc.

 
   

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State Bar No. l3892950

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Counselfor Third-Parly Defendant McAllen Carpet & Interiors, L.P.

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HEARD & MEDACK, P.C.

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TELEPHONE (713) 772_6400
FAx (713) 772-6495

 

Ju|y 6, 2015

V|A-EF|LE

Laura Hinojosa

Hida|go County District Clerk
100 N. Closner

P.O. Box 87

Edinburg, TX 78539

RE: Cause No. C-5149-14-H; Pharr San Juan A/amo Independent Schoo/
Distr/'ct \/. Texas Descon, L.P., Descon 48, L.L.C. and ERO lnternat/'ona/,
L.L.P. d/b/a ERO Architects; ln the 389th Judicial District Court; Hida|go
County, Texas

Dear Clerk:

On July 2, 2015, We filed a Notice of Application for Jury Trial on behalf of Third-
Party Defendant l\/chllen Carpet & lnteriors, LP., however, the jury fee Was not paid at
the time of filing. Please find our $30.00 jury fee for the above-referenced matter.

|fyou should have any questions, please do not hesitate to contact me.

Yours very truly,

HEARD & rleoAcK, P.C.
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/\-K»-Cccr/<_ ‘/ f
fl \

James P. Davis

lI,.

JPD/drw

Case 7:15-cv-OO465 Document 1-8 Filed in TXSD on 11/06/15

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Page 2

Cf

Via Email: sedwards@hudoins-law.con]
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State Bar No. 90001513

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Via Email: swrn@aap|avv.com

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Attorneys at Law

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David W. l\/ledaok (firm)
Cendy Hernandez (firm)

F:\2171\Correspondence\Clerk Ltr 01

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Reviewed By: Claudia Rodriguez

CAUSE NO. C-5149-'l4-H

PHARR SAN JUAN ALA|\/|O
|NDEPENDENT SCHOOL D|STR|CT

vS.
TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO |NTERNAT|ONAL,
L.L.P. d/b/a/ ERO ARCH|TECS

§ |N THE DlSTR|CT COURT
§

§ 389TH JUD|C|AL DlSTR|CT
§

§

§ H|DALGO COUNTY, TEXAS

NOT|CE OF APPL|CAT|ON FOR JURY TR|AL

TO THE HONORABLE JUDGE OF SA|D COURT:

Defendant l\/|CALLEN CARPET & |NTER|ORS, LP in the above-entitled and

numbered cause of action, and pursuant to the provisions of Ru|e 216 of the Texas

Rules of Civil Procedure, hereby formally makes this demand and application for a jury

trial in this litigation and tender herewith the appropriate jury fee.

Respectfully submitted,

HEARD & l\/|EDACK, P.C.

By: /s/ Da\/id l/l/. Medack

David W. l\/ledack

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dmedaok@heardmedackpc.com
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ATTORNEYS FOR TH|RD-PARTY
DEFENDANT l\/|CALLEN CARPET &
|NTER|ORS, L.P.

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Reviewed By: C|audia Rodriguez

CERT|F|CATE OF SER §§

Pursuant to Ru|e 21a of the Texas Rules of Civil Procedure, | hereby certify that
a true and correct copy of the foregoing has been served upon all known counsel of
record, by electronic mail (e-mai|), by facsimi|e, hand delivery, U.S. First Class l\/|ai|,
emai| and/or certified mai|, return receipt requested, on this the 2nd day of Ju|y, 2015.

Via Email: sedwa“r__ds@hudgins-lawch
Spencer Edwards

State Bar No. 90001513

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F:\2171\P|eading\App|ication for Jury Tria|

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Via Email: Robert sche|l@hotmail_com
Jesus Ramirez

State Bar No. 16501950

Robert Schell

State Bar No. 24007992

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Attorneys at Law

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/s/ Dav/`d W. Medack
David W. l\/ledack

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CAUSE NO. C-5149-14-H

PHARR SAN JUAN ALA|\/|O |N THE D|STR|CT COURT
|NDEPENDENT SCHOOL D|STR|CT
Vs. 389TH JUD|C|AL D|STR|CT
TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO |NTERNAT|ONAL,
L.L.P. d/b/a/ ERO ARCH|TECS

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H|DALGO COUNTY, TEXAS

TH|RD-PARTY DEFENDANT
MCALLEN CARPET & lNTERlORS, LP’S OR|G|NAL ANSWER TO
TEXAS DESCCN L.P. AND DESCON 4S, L.L.C.’S
TH|RD-PARTY PET|T|ON
TO THE HONORABLE JUDGE OF SA|D COURT:

COl\/|ES NOW, MCALLEN CARPET & |NTER|ORS, LP (hereinafter referred to
as “l\/lCl”) in the above-entitled and numbered cause of action and files this Original
Answer to Defendants’ Third-Party Petitlon as follows:

|. GENERAL DENlAL

Pursuant to Rule 92 of the Texas Rules of Civil Procedure, l\/lCl generally denies
the allegations in this lawsuit made by Third-Party P|aintiffs and demands strict proof
thereof in accordance with the Constitution and laws of the State of Texas.

l|. AFFlRMATlvE DEFENsEs

Without waiving or limiting the general denial above, or any of the defenses
below, l\/lCl further pleads each of the following defenses in the alternative:

1. l\/lCl denies that it breached any legal duty owed to Third-Party P|aintiffs

and asserts that l\/lC| acted at all times as would a reasonably prudent contractor under

the same or similar circumstances;

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Reviewed By: C|audia Rodriguez

2. l\/lC| denies that all conditions precedent have been performed or have
occurred for Third-Party P|aintiffs to bring the causes of action asserted herein or
recover on the claims asserted;

3. l\/|C| asserts that it was not provided with any pre-suit notice or demand
letter. l\/|C| was also not given an opportunity to inspect and/or repair any damages
allegedly resulting from its work or materials provided;

4. l\/|C| asserts that the negligence and purported breach of contract causes
of action sought by Third-Party P|aintiffs are barred by the claims' respective statutes of
limitations;

5. l\/lCl asserts that should the contract sued upon by Third-Party P|aintiffs be
found valid, l\/|C| substantially performed its obligations under the contract;

6. l\/|C| asserts that any negligence claims asserted by Third-Party P|aintiffs
against l\/lC| were caused by the acts, omissions, and/or products of other entities over
whom MC| had no control and thus were not a the result of any scope of work
performed by l\/|C|.

7. |\/|Cl asserts that no act or omission on its part was a proximate cause or
cause-in-fact of the damages alleged in this suitl and l\/lC| contends that the Third-Party
P|aintiffs have produced no evidence of defective or faulty construction related to the
scope of work l\/lCl performed at the property at issue in this |itigation.

8. MC| asserts that if the conduct of other Defendants and/or Third-Party
Defendants were the sole cause, proximate cause, or contributing cause of the
damages alleged herein, and the defense of contributory negligence, comparative fault,

and proportionate responsibility apply to the claims of Third-Party P|aintiffs.

F:\2171\Pleading\ Original Answer

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9. l\/lC| further asserts that the claims asserted by Third-Party P|aintiffs in this
suit may be barred by the doctrine of waiver, laches, judicial estoppel, equitable
estoppel, judicial admissions, collateral estoppel, res judicata, assumption of the risk,
one satisfaction ru|e, economic loss ru|e, and/or election of remedies;

10. l\/|Cl further asserts that any damages alleged by Third-Party P|aintiffs in
this suit resulted from an interveningl superseding, and new or independent causes,
each of which was the proximate cause, producing cause or sole proximate cause of
the alleged damages;

11. l\/lC| further asserts that the claims alleged by Third-Party P|aintiffs are
barred by the Economlc Loss Rule;

12. l\/|Cl further asserts that to the extent Third-Party P|aintiffs have sustained
any alleged damages, Third-Party P|aintiffs failed to take timely, proper and reasonable
steps to mitigate damages;

13. l\/|C| further asserts that all events, happenings, and damages alleged by
Third-Party P|aintiffs were proximately caused by the negligence and/or fault of persons
or entities other than l\/lC|; and that at all times, these other persons or entities were
acting without the consent, authorization, knowledge or ratification of l\/lCl with regard to
any and all of the alleged acts; and that the award of damages, if any, should be
reduced by the proportionate percentage of the wrong attributed to those persons or
entities;

14. l\/lC| further asserts that it is entitled to a determination of the percentage
of responsibility attributable to Third-Party P|aintiffs, Defendants, and or other Third-

Party Defendants as provided by the laws and the statutes of the State of Texas,

F:\2171\Pleading\ Original Answer

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including but not limited to, the provisions of Chapters 32 and 33 of the Texas Civil
Practice and Remedies Code, as well as all other applicable laws and statutes;

15. l\/lC| pleads that it is entitled to a creditor offset equal to the amount of any
and all sums which Third-Party P|aintiff has received, or may hereafter receive, by way
of settlement with any other person or party, and l\/lCl pleads it is entitled to a
proportionate reduction of any damages found against it based upon the percentage of
negligence or other liability attributable to any settling party;

16. l\/lCl further pleads and incorporates herein by reference as an affirmative
defense all applicable damage caps and limitations upon any award of damages, both
compensatory and punitive, as provided under law;

17. l\/lCl pleads that Third-Party P|aintiffs are not entitled to recover any
attorney’s fees because Third-Party P|aintiffs have no valid breach of contract claim
against l\/lCl;

18. MC asserts that its liability, if any, which is denied, is limited by the
provisions of Sections 41 .001 through 41 .013 of the Texas Civil Practice and Remedies
Code, which are pled and incorporated herein by reference; and

19. l\/lCl further pleads that any award of interest that is in excess of the
applicable market rate of interest during the relevant time period would be arbitrary,
violate public policy, and violate the due process and equal protection guarantees of the
Texas and Unlted States Constitutions;

|||. RlGHTToAMEND ANSWER
l\/lC respectfully reserves the right to amend this Answer after it has had the

opportunity to investigate more closely the claims asserted against it, as it is the right

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Reviewed By: C|audia Rodriguez

and privilege of l\/lCl under the Texas Rules of Civil Procedure and the laws of the State
of Texas.
lV. CoNcLusloN

WHEREFORE, Third-Party Defendant MCALLEN CARPET & |NTERlORS, L.P.,
prays that Texas Descon, L.P. and Descon 4S, L.L.C. take nothing in this suit against
l\/|Cl; and that l\/lCl be granted such other relief, general and special, at law or in equity,
to which it may be justly entitled.

Respectfully submitted,

HEARD & l\/|EDACK, P.C.

By: /s/ David W. Medack
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ATTORNEYS FOR TH|RD-PARTY

DEFENDANT MCALLEN CARPET &
|NTER|ORS, L.P.

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CERT|F|CATE OF SER ICE

Pursuant to Rule 21a of the Texas Rules of Civil Procedure, l hereby certify that
a true and correct copy of the foregoing has been served upon all known counsel of
record, by electronic mail (e-mail), by facsimile, hand delivery, U.S. First Class l\/lail,
email and/or certified mai|, return receipt requested, on this the 2nd day of July, 2015.

Via Email: sedwards@hudgins-law.com
Spencer Edwards

State Bar No. 90001513

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F:\2171\Pleading\ Original Answer

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Via Email: Robert schel|@hotmail.com
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l\/latthew B. Cano

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/s/ David W. Medack
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Reviewed By: C|audia Rodriguez

cAUsE No. c-5149-1'.4-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaintiff

IN THE DISTRICT COURT

vs.

HIDALGO COUNTY, TEXAS

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

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389th JUDICIAL DISTRICT

       

 

PLAINTIFF PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT’S
DESIGNATION lOF EXPERTS

 

 

 

       
     

     

 

 

COMES NOW, PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT,
Plaintiff in the above numbered and styled cause, and tenders its Designation of Experts in

compliance With the Docket Control Order deadline for parties seeking affirmative relief.

(1) The expert’s name,_ address, and telephone number;

Answer:

Bradford Russell, AIA, P.E.

BR Architects

2007 N. Collins Boulevard,' Suite 507
Richardson, Texas 75080

(972) 235-9308

Thomas June Melton, III, P.E.
Amstar Engineering, Inc.

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Austin, Texas 78734

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Project Manager, District Architect

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Jesus Ramirez

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San Juan, Texas 78589
(956) 502-5424

(956) 502-5007 (fax)

The following are not retained experts, b_ut Plaintiff reserves the right to call to testify and
to elicit, by Way of cross-examination, opinion testimony, and adverse testimony from the
following potential experts or persons With knowledge of the lawsuit

Eli R. Ochoa, P.E., AIA
Octavio Cantu

David Delnay

Susan Daniels

Jesus Delgado

ERO International, L.L.P.
d/b/a ERO Architeets

Texas Descon, L.P. and Descon 4S, L.L.C.
Employees, agents, and representatives
Claudio S. Velasco, Senior Project Manager
Michael D. Smith, President

Bruce L. Morris, P.E.

Steven A. Frase, P.E.

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William Stice, R.E.F.P.

David Tyner

Gerald F. A_. Lovve, P.E.

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Terracon Consultants, Inc.

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The subject matter on which the expert will testify;

Answer:

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Mr. Melton will testify as to the engineering work performed by Mr. Eli Ochoa,
PE, AlA/ERO International, L.L.P. d/b/a ERO Architects (“Architect”) in the
design and planning of improvements for the re-adaptive/rehabilitative
construction Project which is the basis of this lawsuit. Mr. Melton Will testify as
to structural engineering issues and as to demolition work performed by the
Descon defendants in Phase I of the Project. Mr. Melton will additionally testify
as to the proximate cause(s) of Plaintiff’s damages in both Phases of the Project,

as well as calculations of damages

Mr. Russell Will testify as to the engineering work performed by the Architect in
the design and planning of improvements for the re-adaptive/rehabilitative
construction Project which is the basis of this lawsuit, including standards of the

 

 

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profession, omissions and errors committed by the Architect, and proximately
resulting damages

Mr. Rodriguez Will testify regarding reasonable and necessary costs to repair
damages sustained at Phase I and Phase 11 of the Project, based on historical
construction costs for public school district construction in South Texas. He will
testify as to the specifications of the Stambaugh and Textbook Storage buildings,
including square footage, and as to what the original plans for these structures
entailed in terms of planned improvements

Mr. Jesus Ramirez Will testify as to the reasonableness of Plaintiff’s attorney’s
fees.

(3) The general substance of the expert’s mental impressions and opinions and a brief
summary of the basis of them, or if` the expert is not retained by, employed by or
otherwise subject to the control of the Plaintiff, documents reflecting such
information:

Answer:

Regarding the assessment phase of the Project, l\/lr. Russell will testify that
Architect’s work deviated from acceptable standards in the practice of
architecture in the following respects:

(i) Failing to undertake/require reasonable foundation testing (core testing) to
determine existence/condition of moisture barrier between foundation and
soil;

(ii) Failing to address lack of moisture barrier in designs;

(iii) Failing to undertake/require reasonable structural testing of structural
elements

Regarding Phase I of the Project, the Architect failed to meet Architect’s design
responsibilities and Specification requirements in a Project calling for partial
demolition of structural elements of an existing building in the following respects:

(i) Failing to consider the impact and risk of structural damage of demolition
work in its designs and specifications l"or the construction project;

(ii) Failing to request and follow through with the general
contractor/demolition contractor to develop a specific plan containing
means and methods for the demolition (even though the contract between
Owner and Contractor so provided) l

(iii) Upon failure of the general contractor to develop a specific plan containing
means and methods, permitting the contractor to proceed with demolition

 

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Mr. Russell will testify that such errors and omissions constituted the proximate
cause of Plaintist damages, including the collapse of a portion of the East Wall
and second story floor in the Main Bulldlng and resulting damage to the West
Wall and support columns, and other structural damage to the building

Regarding Phase ll of the Project, Mr. Russell will testify that Architect’s work
deviated from acceptable standards in the practice of architecture in the following
respects:

(i) Failing to conduct reasonable investigation ol` the conditions of the two
buildings (Stambaugh Bulldlng and Textbook Storage building) before
inducing the district to approve the plans and specifications and award the
construction contract;

(ii) Failing to determine existing conditions of the two buildings rather than
relying upon unreasonable assumptions while preparing plans and
specifications for rehabilitative/re-adaptive use.

(iii) As chief advisor to the District on design and construction issues, advising
the District to proceed on a course of action without having made an
adequate evaluation of existing conditions, knowing that the District
would necessarily rely upon the Architect’s representations

Mr. Russell will testify that such errors and omissions constituted the proximate
cause of Plaintiff"s damages in Phase II of the Proj ect.

Mr. Melton will testify that the Descon Defendants Were negligent in their failure
to adequately inspect and test the structures and site beforehand and failure to use
appropriate demolition means and methods in Phase l of the Project. Such
negligence proximately resulted in the damages that Plaintif`f has complained of in
this lawsuit

Mr. Melton Will testify that the Plaintiff’s proper measure of damages regarding
Phase I of the Proj ect is the difference in cost between the change orders required
to deal with the wall/floor collapse and the basement flooding issues, and what the
cost would have been had the Architect (ERO) included those changes and
modifications in the original plans and specifications

 

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Mr. Melton will testify that the Plaintiff’ s proper measure of damages regarding
Phase II of the Project would be calculated as follows:

(1) the actual cost differential in the change orders to the contract to address
the wrong assumptions and flawed understanding of actual conditions of
the Architect, and

(2) the pecuniary ioss resulting from the loss of use of the comparable square
footage of space of the Textbook and Stambaugh buildings which resulted
from proceeding to make the improvements to those buildings when new
construction of a comparable square footage would have been more
efficient '

Mr. Jesus Ramirez has formed opinions regarding the reasonableness of the
Plaintiff’s attorney’s fees billed on this case; the opinions are based on a review of
the pleadings, evidence, discovery and depositions taken in the case, as well as the
case law applicable to the case, and their experience as trial and appellate
attorneys

(4) If the expert is retained by, employed by, or otherwise subject to the control of the
responding party;

A. All documents tangible things, reports, models, or data compilations that
have been provided to, reviewed by, or prepared by or for the expert in
anticipation of the expert’s testimony; and;

Answer:

Documents reviewed by Mr. Melton and Mr. Russell are voluminous
have been previously produced and are available for inspection at the
offices of The J. Ramirez Law Firm upon reasonable advance notice. A
list of the documents is attached hereto.

Mr. Rodriguez has reviewed relevant construction documents that have
been previously produced or made available to all parties

Mr. Ramirez has reviewed the pleadings and papers on file in this action.

B. The expert’s resume and bibliography.

Answer:
Resumes and job descriptions are attached hereto for retained experts
The Plaintiff reserves the right to call to testify and hereby designates any timely

designated expert witness listed by any other party to this lawsuit. Plaintiff further
reserves the right to elicit, by way of cross-examination, opinion testimony, and

 

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adverse testimony, from experts and non-expert witnesses designated and called by
other parties to this suit, Plaintiff reserves the right to ca11 undesignated rebuttal
expert witnesses whose testimony cannot reasonably be foreseen until the
presentation of the evidence in this trial. Plaintiff reserves the right to withdraw the
designation of any expert and to aver positively that any such previously designated
expert will not be called as a witness at trial, and to re-designate same as a
consulting expert, who cannot be called by opposing counsel. Plaintiff hereby
designates, as adverse parties, potentially adverse parties, _an.d/or-..as witnesses
associated with adverse parties, all parties to this suit, and all experts designated by
any party to this suit, even if the designating party to this suit, even if the
designating party is not a party to this suit at the time of trial. In the event a future
or present party designates an expert but then is dismissed for any reason from the
suit or fails to ca11 any designated expert, Plaintiff reserves the right to designate
and/or ca11 any such party or any such previously designated experts by any party.
Additionally, Plaintiff reserves any unmentioned rights with regard to experts,
pursuant to the Texas Rules of Civil Procedure, the Texas Rules of Civil Evidence,
the case law regarding same and the rulings of this Court. Plaintiff reserves the
right elicit expert, lay or adverse opinions by way of examinations, cross-
examination or other means, whether appropr.iate, from those Witnesses designated
by Defendant or any Intervenor who may have knowledge of relevant facts and/or
have been designated as expert witnesses Additionally, Plaintiff hereby reserves the
right to call as trial witnesses those individuals designated as persons with
knowledge by Defendant or intervenor in this cause of action. Such information is
on file with the court and has been served upon the other parties in this lawsuit. If a
business entity is designated as a person with knowledge herein, you may assume
that the appropriate custodian of records may testify as a person with knowledge

Respectfully submitted,

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